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               EXHIBIT 50
                   -
          REDACTED VERSION OF
              ECF NO. 518-5
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                               Exhibit 3
                   Expert Report of Andrew Zimbalist
                     in Cung Le, et al. v. Zuffa, LLC
                              (August 30, 2017)


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                   Expert Report of Andrew Zimbalist in Cung Le, et al. v. Zuffa, LLC



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                                              I. INTRODUCTION AND ASSIGNMENT

                   1.         Zuffa LLC, doing business as Ultimate Fighting Championship

        (“Defendant,” “Zuffa,” or “UFC”), is a promoter of live professional mixed-martial-arts




                                                                                                                                                        1




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        (“MMA”) bouts. Plaintiffs are Professional MMA Fighters1 who have fought for the UFC.

        Plaintiffs allege that Zuffa used anticompetitive conduct (the “challenged conduct”) to

        establish, maintain, and enhance monopoly and monopsony power. The challenged conduct

        includes, among other things: (a) entering multi-fight exclusive contracts with a large share

        of the top Professional MMA Fighters, thereby keeping this allegedly necessary input from

        other MMA promotions; (b) acquiring multiple actual or potential rival MMA promotion

        companies; and (c) impairing other MMA promoters by using its alleged dominance to

        threaten sponsors, promoters, and fighters who worked with or considered working with the

        UFC’s potential rivals.2

                 2.     Plaintiffs have brought this case on behalf of two proposed classes of

        similarly situated Professional MMA Fighters: the “Bout Class” and the “Identity Class.”

        The “Bout Class” includes: “All persons who competed in one or more live professional

        UFC-promoted MMA bouts taking place or broadcast in the United States during the Class

        Period. The Bout Class excludes all persons who are not residents or citizens of the United

        States unless the UFC paid such persons for competing in a bout fought in the United

        States.”3

                 3.     The “Identity Class” includes: “Each and every UFC Fighter whose Identity

        was expropriated or exploited by the UFC, including in UFC Licensed Merchandise and/or

        1
          I use the term “Professional MMA Fighter” as defined in the Complaint to mean “a person who
        is compensated as a combatant in a Mixed Martial Arts bout.” Cung Le, et al. v. Zuffa, LLC,
        d/b/a Ultimate Fighting Championship and UFC, No. 15-cv-1045, Consolidated Amended
        Antitrust Class Action Complaint (Dec. 18, 2015) (hereinafter “CAC”). I sometimes use the
        term “fighter” synonymously.
        2
            CAC ¶¶ 109-113, 116-118, 125-126, 128-134.
        3
            CAC ¶ 39.

                                                                                                        2




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        UFC Promotional Materials, during the Class Period in the United States.”4 Plaintiffs define

        the “Identity of a UFC Fighter” as “the name, sobriquet, voice, persona, signature, likeness

        and/or biographical information of a UFC Fighter.” Plaintiffs have defined the “Class

        Period” as beginning December 16, 2010, and continuing until the challenged conduct

        ceases.5 The challenged conduct, according to the CAC, began at least as early as December

        2006.6 The period of my damages analysis is from December 16, 2010 through December

        31, 2016.

                  4.      Counsel for Plaintiffs have asked me to determine:

                         a.     whether the challenged conduct is anticompetitive in character and thus
                                would have anticompetitive effects if engaged in by an entity with
                                monopoly or monopsony power;

                         b.     whether pro-competitive justifications that have been offered in defense of
                                conduct similar to the challenged conduct that was historically engaged in
                                by owners in other professional sports (i) have any validity, (ii) have any
                                theoretical applicability to Mixed Martial Arts (“MMA”), and (iii)
                                assuming arguendo that some would apply, whether any such alleged
                                procompetitive benefits could be achieved with less restrictive alternatives;
                                and

                         c.     whether a class-wide method is capable of computing the aggregate amount
                                members of the proposed “Bout Class” were undercompensated due to the
                                challenged conduct, and if so, to calculate the total amount of
                                undercompensation that members of the bout class suffered.

                  5.      I first conclude that the challenged conduct is anticompetitive in character.

        To reach this conclusion, I first chart the history of athlete contracts and level of competition

        in a variety of professional sports including baseball, football, hockey, basketball, and


        4
            Id. ¶ 47.
        5
            Id.
        6
            Id. ¶ 129.

                                                                                                            3




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        boxing. Many of these sports have historically included clauses similar to those currently

        employed in UFC fighter contracts. Studying the changes in clauses in other sports similar

        to those Plaintiffs are challenging in this case illustrates the anticompetitive nature of the

        challenged conduct. In particular, the dramatic increases in athlete compensation that

        accompanied the expansion of free agency7 in other sports, and the presence of competitive

        options in those sports, demonstrate the wage-suppressing effect of limitations on free

        agency that the challenged conduct imposed.

               6.      Next, I conclude that many of the pro-competitive justifications that have,

        over time, been offered in defense of similar conduct historically engaged in by owners in

        other professional sports are not valid and were not reasonably necessary for the success of

        such leagues or sports. These other sports and leagues have survived, and indeed have gone

        on to thrive, after the elimination or restriction of the use of contract terms similar to those

        challenged here. In addition, many of those procompetitive justifications, such as those

        relating to so-called competitive balance, have no direct relevance for an individual sport

        such as MMA. Finally, I conclude that even assuming some of these justifications could

        apply in MMA, the experience of these sports also shows that less restrictive contracting

        practices can accomplish similar aims. In fact, these other sports provide natural

        experiments that offer concrete empirical evidence of the beneficial competitive effects that

        result from lifting the restrictive conduct of the employer on both: (1) athlete compensation;

        and (2) the popularity and profitability of the sport as a whole.


        7
         Free agency is generally understood to refer to the ability of players who have played out their
        existing contract to offer their services on the labor market to other employers in the industry.
        See Deposition of Joe Silva, June 7, 2017, (hereinafter “Silva Dep.”) at 183:4-9.

                                                                                                            4




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               7.      I then provide a classwide method that computes the total aggregate amount

        that members of the bout class were undercompensated during the Class Period due to the

        challenged conduct. In particular, my method measures damages to the Plaintiff bout class in

        this case by comparing (a) the fighters’ share of Zuffa revenue to (b) athletes’ share of

        revenue in a variety of other professional sports. I use these other professional sports as a

        conservative yardstick to evaluate the likely level of fighter compensation in a but-for world,

        absent the challenged conduct, where Zuffa faces enhanced competitive conditions.

               8.      My opinion on damages assumes that Zuffa had market power in a relevant

        input market, and that the challenged conduct substantially foreclosed competition in that

        market such that but for the challenged conduct, Zuffa would have faced additional

        competition on par with those markets used as yardsticks. Because I am not opining on

        market power or level of foreclosure, determining the metes and bounds of the relevant

        markets is not necessary for my opinion. Although it is not relevant to my opinion, for

        convenience and as a short-hand, I sometimes refer to a potential relevant input market for

        professional MMA fighter services as the market for “top fighters.” By this, I refer to the

        pool of professional MMA fighters that another live professional MMA promoter could use

        to compete effectively with Zuffa, and it includes, at a minimum, all Zuffa fighters.

                                             II. QUALIFICATIONS

               9.      I am the Robert A. Woods Professor of Economics and Chair of the

        Economics Department at Smith College in Northampton, Massachusetts. I received my

        B.A. in Economics from the University of Wisconsin-Madison in 1969 and my M.A. and

        Ph.D. in Economics from Harvard University in 1972 and 1974, respectively. I have served

        as a visiting professor at Doshisha University in Kyoto, Japan, the University of Geneva in
                                                                                                          5




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        Geneva, Switzerland, and Hamburg University in Hamburg, Germany. I have studied and

        consulted extensively within the intercollegiate and professional sports industry for leagues,

        teams, players’ associations, governments, citizen groups, and athletes for over twenty-five

        years. I have published twenty-six books and dozens of articles in the fields of sports

        economics, comparative economic systems and development economics. I am a founding

        member and serve on the editorial board of the Journal of Sports Economics. My detailed

        background and credentials are set forth in my curriculum vitae and biographical sketch,

        attached hereto as Exhibit A. For my work in this case, I am being compensated at my

        customary rate of $850 an hour.

                                     III. ZUFFA’S FIGHTER CONTRACTS

                  10.     According to the CAC, Zuffa’s contracts with fighters contain a number of

        exclusionary clauses that restrict fighters’ ability to become free agents and offer their

        services on an open market to other MMA promoters. These provisions include, inter alia:

                  (a)     An “Exclusivity Clause,” which prevents fighters from leaving to fight for a
                          competing MMA promoter during the term of the agreement;8

                  (b)     A “Champion’s Clause,” which allows the UFC to extend a UFC fighter’s
                          contract for “one year from the Termination Date or until the date on which the
                          athlete has participated in three bouts promoted by Zuffa”9 as long as the athlete is
                          a “champion” in his or her weight class at the end of the contract term;

                  (c)     A “Right-to-Match” clause, which grants the UFC the option to match the
                          financial terms and conditions of any offer made to a UFC fighter for an MMA




        8
          30(b)(6) Deposition of Kirk Hendrick, Nov. 29, 2016, Exh. 2, (hereinafter “Hendrick Exh. 2”)
        at 3, 17.
        9
            Id. at 4, 18-20.

                                                                                                             6




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                         bout for up to a year after the fighter’s contract has expired, and frequently first
                         imposes an “exclusive negotiation period” of 30 to 90 days.10

                  11.    Zuffa’s contracts specify a term in both bouts and months, during which the

        “exclusivity clause” operates to require the fighter to fight exclusively for Zuffa. In 2010,

        the typical Zuffa fighter contract had a formal “term” of 18-36 months, or 4-8 fights.

                  12.    However, as I understand the contractual arrangements, the formal term

        substantially understates the true length of the fighter agreements. First, it fails to account

        for the time between the signing of the contract and the first bout, which is not included in

        the “term.”11 Second, it fails to account for any extensions induced by the myriad tolling

        provisions in Zuffa’s fighter contracts. Specifically, Zuffa includes provisions that toll the

        agreement for any period that a fighter is injured, retired, or otherwise unable or unwilling to

        appear in a bout.12 At some point before November 2012, Zuffa began automatically issuing

        injury extensions to fighters known to be injured after a bout, even if that fighter had not yet

        been offered another fight.13 In addition, the injury extensions were generally calculated as

        the amount of time between bouts, not the amount of time the fighter was actually injured.14

        Third, the formal “term” excludes the exclusive negotiation period and the right-to-match

        period, both of which extend the period of time before a fighter can become a free agent.

        10
           Id. at 8, 65-73; CAC ¶ 113. Zuffa removed this clause halfway through 2011, but then
        reinstated it in early 2014. See Hendrick Exh. 2 at 65.
        11
          Silva Dep. at 392:16-393:7 (Term of agreement does not start until first fight, but contract is
        exclusive from the first day it is signed); 30(b)(6) Deposition of Kirk Hendrick, Nov. 29, 2016,
        (hereinafter “Hendrick 30(b)(6) Dep.”) at 191:2-192:11.
        12
             Hendrick Exh. 2 at 7; Silva Dep. at 275:9-24, 276:8-18.
        13
             Silva Dep. at 412:7-413:22.
        14
          Id. at 410:15-21 (Silva would “always just do it [issue the extension] for the time-period in
        between fights.”); 421:6-17 (same).

                                                                                                                7




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        After the formal term is over, in the typical fighter contract, Zuffa has a 30- to 90-day

        exclusive negotiating period during which the fighter cannot negotiate or solicit offers from

        other MMA promoters.15 When the exclusive negotiation period ends, the fighter is able to

        negotiate with other promoters subject to Zuffa’s right to match any offers received over the

        next year (“right-to-match clause”).16 If the fighter receives an offer during the one-year

        matching period, Zuffa then has 15 days from the date of the offer to match the financial

        terms of the offer. If Zuffa matches the outside offer, the fighter is obligated to accept

        Zuffa’s contract. As a result, for a fighter whom the UFC wants to keep, to become a free

        agent and leave the UFC, that fighter must be prepared to lose up to 15 months of bout-

        related income (as fighters only get paid by the UFC when they fight).17 The right-to-match

        clause is often referred to interchangeably as a “right of first refusal.” I understand that these

        terms were standard in Zuffa’s fighter contracts.18

                  13.    Similar to the historic reserve clause in professional team sports, the

        allegedly exclusionary clauses listed above, together with various tolling provisions and the

        practices Zuffa uses to incentivize athletes to sign new agreements, function to give Zuffa

        near complete contract control over fighters it wishes to prevent from becoming free agents,

        15
             See id. at 184:16-24.
        16
             See id. at 184:25-185:11.
        17
          See id. at 186:4-12 (“Q. Would you agree with me that if there was a UFC fighter who no
        longer wanted to fight with the UFC for some reason and the UFC was determined to match any
        offer, that that fighter, in order to get out from under the contract, would need to wait the 90 days
        of the exclusive negotiation period and then the 12 months of the right to match; correct? A.
        That’s my understanding.”). This 15-month timeline is conservative because it does not include
        the time-period between when the fighter signs his deal with another MMA promoter and the
        date that the promoter is first able to promote a bout featuring the fighter.
        18
             Silva Dep. at 277:9-15.

                                                                                                             8




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        especially during the peaks of their careers.19 Michael Mersch, former Zuffa COO,

        explained how Zuffa’s practice was to make its contracts effectively perpetual: “if a fighter

        is successful under a 4 fight deal, we typically negotiate a new agreement after the 3rd fight

        so he never will see the end of his contract and, assuming the fighter is successful, or at least

        competitive, that is the process that will continue thereafter.”20

                 14.   Zuffa uses a series of carrots and sticks to incentivize the fighters it wishes to

        retain to sign new contracts, and thus never reach free agency.21 As a carrot, Zuffa would

        sometimes offer fighters additional money for the final fight of a contract (which would then

        become the first fight at a new compensation level of the next contract), if they signed new

        multi-bout agreements before their last fight.22 If the fighter refused to sign a new contract,


        19
           Indeed, the Confidential Information Memorandum prepared by Deutsche Bank on behalf of
        Zuffa in 2007 explains that “UFC athlete contracts are designed to retain talent within the
        Company [with] an exclusivity clause that prevents fighters from moving to different MMA
        organizations while under contract and with negotiation and matching rights after the agreement
        expires.” DB-ZUFFA-00006712 at 6751. Deutsche Bank’s Rule 30(b)(6) witness testified that
        Zuffa told Deutsche Bank that the UFC’s exclusivity clause and negotiation and matching rights
        after the agreements expire were part of how the contracts were designed to retain talent within
        the company. Deposition of Drew Goldman, Apr. 28, 2017, (hereinafter “Goldman Dep.”) at
        71:18-72:3. In the October 2009 Confidential Information Memorandum, Deutsche Bank made
        identical statements, see DB-ZUFFA-00056900 at 33, based on the same information that Zuffa
        provided. See Goldman Dep. at 114:12-115:9. Zuffa’s Rule 30(b)(6) witness testified and
        provided written testimony showing that these provisions did not change substantively between
        May 2007 and the present. Hendrick Dep. at 366:14-19, 376:15-18; Hendrick Exh. 2.
        20
           ZFL-1404974; see also Silva Dep. Exh. 39 (“I always negotiate before the last fight just like I
        am doing now. So 3 fights [of the 4 fight deal] and we talk again.”); Silva Dep. at 349:8-16 (“on
        a regular UFC four-fight deal, you renegotiate after the third fight [of a four fight deal]”); Silva
        Dep. at 381:18-382:7.
        21
           Silva Dep. at 384:9-23 (by negotiating a new contract before the end of their last contract, the
        fighter never becomes a free agent).
        22
          Silva Dep. at 382:16-383:3 (“Q… to get a fighter to re-up for another four-fight deal, you’d
        come to them after the third fight and offer to pay them a higher amount for what would have
        been their fourth fight? A. Correct. Q. And you make that the first fight of the next contract? A.

                                                                                                              9




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        he would make less money for his final fight under his prior contract.23

                  15.    Zuffa had many sticks to induce fighters to sign a new contract. First, Zuffa

        could maintain indefinite control over the champions of any weight class when their

        respective contracts ended, and Zuffa typically had the right to control whether any non-

        champion fighter could leave the UFC for fifteen months after the contracts expired. Given

        the short career span of a typical Professional MMA Fighter, fifteen months represents a

        significant share of his or her career, and especially of his or her period of peak earnings.24

        According to one internal Zuffa analysis, the average UFC fighter’s total career length

        measured from his or her first event with Zuffa until the last was approximately 2.5 years,

        including all athletes who fought for Zuffa any time between 1993 and 2014.25 Thus, having

        to go without income and fight activity for fifteen months would represent a major

        disincentive for a fighter to risk the hardship of achieving free agency. During this time, a

        fighter risks losing public prominence and thus fan interest and marketability.26



        That’s correct. Q. Okay. And in return, he would be obligated for three more fights with Zuffa
        than were obligated under the initial contract; is that right? A. Correct.”).
        23
           Silva Dep. at 385:15-21 (“Q. If a fighter refused to accept the new deal that you were offering
        them between the third and the fourth fight, he would face a situation where he was fighting that
        last fight at less compensation than he would have gotten had he accepted the new deal…? A.
        Yes, he chose to fight at less money.”).
        24
           ZFL-2642993 (January 2008 email from the agent for Andrei Arlovsky, a former UFC
        Heavyweight Champion, stating that “It is extremely damaging to Andrei’s career to be shelved
        for such a long period of time [more than one year]”); ZFL-2632955 (agent stating that “MMA
        fighters [] career primes are generally short”). Zuffa’s corporate designee concurred that sitting
        out for 12 months is not a reasonable option given fighters’ typically short career durations.
        Hendrick Tr. V.I (“If [a fighter is] ready, willing, and able to fight and they want to fight, 12
        months I would say is a time period that is significant for a fighter’s career.”).
        25
             ZFL-1376378-79.
        26
             See Silva Dep. at 463:23-464:8.

                                                                                                          10




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        Furthermore, this fifteen-month period only begins after the term of the contract expires.

                  16.    However, these statistics understate the difficulty faced by a fighter trying to

        reach free agency. Zuffa had a number of additional tools, emanating from its dominance of

        the sport of MMA, to incentivize a fighter to re-sign a new contract rather than wait until his

        or her contract and any extensions and matching period expires. First, Zuffa could use its

        control over the matchmaking process to try to induce a fighter to sign a new contract before

        the prior one expires. For instance, it could threaten to schedule the fighter’s last fight as an

        “undercard” or “prelim” fight, rather than a main event, or provide the fighter a poor stylistic

        or talent-level match-up that could be bad for that fighter’s career.27 If the fighter turned

        down the fight, Zuffa could then extend the contract by six months.28 In theory, Zuffa could

        keep a fighter under contract indefinitely if the fighter refused to accept offered matchups.29

                  17.     Second, Zuffa’s exclusive contracts with sponsors could prevent fighters

        from taking their existing sponsors to a new promoter. Starting some time before August

        2009 and phased in during 2010, Zuffa implemented an “approved sponsor program” under

        which apparel sponsors had to sign a “Brand Affiliation Agreement” or a “League

        Affiliation Agreement” with Zuffa and pay Zuffa an “exposure fee” in order to sponsor




        27
           For example, in April 2010, Joe Silva offered fighter Nick Diaz a new contract before his last
        fight. Silva explained, “If they [Diaz’s team] turn it down I put him in a prelim against a really
        tough guy for his last fight.” Silva Dep. Exh. 43 (ZFL-14121551). Silva testified that he would
        have matched Diaz against a tough guy regardless, but admitted that, all else equal, he would be
        more likely to give the main card to a fighter who has renewed his or her contract, as opposed to
        one who has not. Silva Dep. at 401:2-19, 405:12-19.
        28
             Silva Dep. at 426:6-12.
        29
             Silva Dep. at 433:13-434:16.

                                                                                                            11




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        fighters during UFC events.30 Over time the approved sponsor program expanded to include

        other types of sponsors such as on-line retailers.31 These agreements contained an

        “exclusivity” clause under which the sponsor agrees “not to sponsor any other competitive

        mixed martial arts (MMA) leagues, promoters, fighters, and/or affiliated brands… during

        the Term without the express written consent of Zuffa.”32 Once a sponsor signed such an

        exclusivity clause, if one of its sponsored fighters left the UFC, the fighter could not take

        that sponsor with them, and thus would risk losing the associated sponsorship revenue if the

        fighter went to another MMA promotion.33


        30
           See Deposition of Ike Lawrence Epstein, July 21, 2017(hereinafter “Epstein 30(b)(6) Dep.”) at
        282:16-283:9, 286:6-13, 340:8-12; Epstein 30(b)(6) Dep. Exh. 33 (LEPLAINTIFFS-0032350)
        (Aug. 4, 2009 email from Michael Mersch to Nate Quarry: “The only changes in the sponsorship
        world pertain to tshirt/apparel companies… in short, any tshirt company wishing to sponsor UFC
        fighters must join the UFC approved sponsor program.”).
        31
          Epstein 30(b)(6) Dep. Exh. 34 (ZFL-2198339) (“NOTICE – For all Zuffa events going
        forward, only approved on-line retailers will be allowed to sponsor fighters. To that end, you
        must have a separately executed sponsorship agreement with Zuffa to be able to sponsor fighters
        for any events. This new policy will kick in beginning with UFC 116 on July 3, 2010.”); Epstein
        30(b)(6) Dep. at 292:2-19.
        32
           See, e.g., Epstein 30(b)(6) Dep. Exh. 32 (ZFL-1233191) at 192 (SAN Nutrition); Epstein
        30(b)(6) Dep. Exh. 35 (ZFL-2532557) at 559 (Body Plus). As Michael Mersch explained to one
        potential sponsor in August, 2010, “We are transitioning everyone to exclusivity with Zuffa
        promoted fighters only.” Epstein 30(b)(6) Dep. Exh. 42 (ZFL-2149052); see also Epstein
        30(b)(6) Dep. at 338:5-339:11. Zuffa made exceptions “very rarely” for companies that
        purchased more comprehensive sponsorship packages from Zuffa (such as Monster Energy) for a
        much higher licensing fee, or a number of one-off exceptions involving brands that Zuffa wanted
        to be associated with, such as Nike, or possibly brands that were affiliated with a star fighter
        such as Clinch Gear, which was affiliated with Dan Henderson and Punishment, which was
        affiliated with Tito Ortiz. See Epstein 30(b)(6) Dep. at 288:18-291:4, 336:2-18 (“It’s not just
        about money. It’s about the overall things that a particular sponsor is going to do to grow the
        sport, to do things for athletes, to expose… our events and our athletes to a broader … universe
        of potential fans. Money is a factor … But it’s something that we do very rarely.”).
        33
          Deposition of Michael Mersch, July 14, 2017, (hereinafter “Mersch Dep.”) at 418:14-24 (“Q.
        Yeah. So the fighter’s sponsored by one of the UFC’s exclusive sponsors and they decide to
        leave the UFC and go fight for Bellator. As a result of this policy, they couldn’t take the sponsor

                                                                                                         12




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                  18.    Third, Zuffa’s contracts prevented fighters from using their clips of prior

        fights to promote their fights under a new promoter.34 Joe Silva admitted that “fighters often

        used their prior videos as a way to promote themselves”35 and that “it would be hurtful for

        [a] promotion not to be able to show past fights. We use – those past fights help to promote

        future fights… Because that’s how you promote a fight. You want to establish what this

        person has accomplished.” As a result, for Zuffa, it was “very important to be able to

        promote its fighters and its fights by using video of fighters’ prior fights.”36 By preventing

        fighters from using their UFC clips to promote fights with another promoter, Zuffa’s

        contracts reduced the value they could offer to a different MMA promoter as a possible free

        agent.

                  19.    Fourth, I also understand that Zuffa uses its control over the titling process to

        induce fighters to sign longer contracts. Thus, if a fighter wishes to contend for a title, I

        understand Zuffa would expect the fighter to sign a new, longer contract in order to provide

        them with the opportunity.37 Relatedly, I understand that as a fighter becomes more highly

        ranked, and thus more valuable, Zuffa requires them to sign contracts locking them up for

        with them if that sponsor wanted to stay with the UFC; is that right? A. Assuming that they had
        negotiated and agreed to the -- to an exclusivity provision in a contract with Zuffa, I would
        assume and imagine that people who entered the contracts adhered to the terms of the
        contract[s].”).
        34
           Silva admitted the ancillary rights provisions of Zuffa’s fighter contracts gave “Zuffa the right
        to stop someone else, like that fighter, from using that video if [he] fought for another
        promotion[.]” Silva Dep. at 272:3-11. “The footage is the UFC’s footage to show and --- and to
        use.” Id. at 273:2-10.
        35
             Silva Dep. at 25:2-4.
        36
             Silva Dep. at 270:12-271:17.
        37
         See, e.g., ZFL-1404974 (According to Zuffa’s Michael Mersch, “[b]efore someone fights for a
        UFC Championship we would likely have them locked in a longer terms deal”).

                                                                                                             13




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        longer periods of time.38 Fighters know that if they contend for the title, and win, the

        Champion’s Clause will bind them to Zuffa for at least a year or three bouts, and know

        further that if they wanted to leave the UFC against the UFC’s wishes, they would be

        required to sit out up to 15 months to be able to fight elsewhere.39 These strategies are

        similar to those used by boxing promoters to control championship-contender boxers

        throughout the twentieth century and condemned by the Ali Act.40

                  20.     These practices, along with Zuffa’s exclusive contracts and other

        exclusionary conduct provide a feedback loop deterring the movement of fighters to other

        promoters. This is because free agency only benefits fighters if enough competition exists

        for their services. I understand that Zuffa has reinforced its control over fighters by

        acquiring several competing promotions over the years and by engaging in the challenged

        conduct to weaken other MMA promoters. If there exist no significant rivals to Zuffa who

        can offer fighters equivalent compensation, matchmaking, and/or public notoriety, then

        fighters have even less incentive to endure the hardship of becoming a free agent. In

        particular, the ability of a promotion to offer matchups against other top quality fighters is a


        38
           See WME_ZUFFA_00001150 at *11 (Champions have on average 6.5 bouts remaining;
        Ranked 1-5 have 5.5 bouts remaining; Ranked 6-10 have 3.6 bouts remaining; Ranked 11-15
        have 3.2 bouts remaining). In addition, Joe Silva discussed offering Thiago Alves, who was “on
        a 7 fight win streak and was the number one contender to fight the winner of GSP versus B.J.
        Penn” a “2 tier contract, with a higher path if he becomes champ. The good thing about those is
        it locks them in longer if they become champ.” Silva Dep. at 455:6-456:11; Silva Exh. 53. Silva
        admitted the advantage to such a contract was that it “could ensure that if [the fighter] became
        champ [Zuffa would] have them locked up for a longer period of time.” Silva Dep. at 456:21-25.
        39
          Silva Dep. at 274:18-22 (“If you are the champion and you fought your last fight under
        contract, you have an exclusive negotiation period, and if you do not come to a deal, then there is
        a period of, I believe it’s a year, before you could just leave.”).
        40
             Infra, section IV. E.

                                                                                                           14




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        key requirement for a promotion to attract promising talent.41 Thus, Zuffa used its control

        over top-ranked and championship-contender professional fighters to limit the success of

        potential MMA promoter rivals.

                  21.    For example, in 2014, UFC fighter Gilbert Melendez received an offer from

        MMA promotion Bellator. Zuffa matched the offer and prevented Melendez from leaving

        the UFC. In a text exchange relating to UFC’s blocking of Melendez, between UFC

        President Dana White and Zuffa CEO Lorenzo Fertitta, Fertitta revealed that a key reason

        for this move was to harm Bellator. As Fertitta made clear: “We gotta keep taking these

        fuckers oxygen till they tap out. We have sacrificed too much to let anyone get traction

        now.”42 At his deposition, Fertitta clarified that the “fuckers” to which he referred was

        Bellator and the “oxygen” were the fighters Gilbert Melendez as well as Eddie Alvarez, a

        Bellator fighter Zuffa was attempting to poach.43 Similarly, Zuffa’s top matchmaker, Joe

        Silva indicated that he kept fighters under contract whom he would prefer to cut simply to

        prevent rival promoters such as Bellator from promoting them, because releasing them

        would “improve Bellator’s ability to put on a successful event” and Silva testified that “[i]t’s




        41
           UFC’s matchmaker, Joe Silva, understood well the importance of being able to fight top
        quality fighters in order to advance an MMA career. See, e.g., Silva Dep. at 128:23-129:11 (“So
        if the majority of your opponents have losing records, they’re probably not very good, so it
        doesn’t tell me much about your ability… I would like your guy to have more experience and
        have experience against better people.”); id. at 129:10-21 (“Beating guys with crappy records
        won’t convince anyone [a fighter is] ready for the big leagues.”); id. at 66:13-17 (“It never
        mattered, it didn’t matter if it was Pride – if you’re saying that Pride was one of the biggest in the
        world, I didn’t care that he fought in Pride, I cared who [sic] he fought in Pride.”).
        42
             ZFL-2699678, Rows 1552-55.
        43
             Deposition of Lorenzo Fertitta, March 23, 2017, (hereinafter “Fertitta Dep.”) at 291-92.

                                                                                                           15




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        not my job to help Bellator.”44 To the extent that Zuffa limited other MMA promoters’

        access to the best fighters, this reduces the incentive for a UCF fighter to seek to achieve

        free agency.

                 22.   I understand that Zuffa used various strategies to induce fighters to re-sign

        their contracts rather than reach free agency. I simply summarize the strategies here to

        demonstrate that, in the context of the short and uncertain length of the career of a

        Professional MMA fighter, this conduct allowed Zuffa to exert control over a fighter’s

        career in a similar way to that achieved by the historic reserve clause in professional

        baseball.45 Indeed, in responding to due diligence questions by potential Zuffa investors, the

        Raine Group, which had been retained by Zuffa to assist in marketing the company to

        potential buyers, explained in June 2016 that “no athlete has left the UFC that the Company

        wanted to retain.”46 Similarly, Joe Silva agreed that, as of 2008, B.J. Penn was the only


        44
           Silva wrote that he “would love to cut [fighter Rogerio Nogueira] but he would just end up
        fighting Rampage in Bellator.” Silva Dep. Exh. 28. He explained he wrote that because “he
        won’t fight the … guys that we need him to fight” and “[i]t would just be handing [Bellator]
        something easy … [a] [c]redible name.” Silva Dep. at 304:24-306:12. Zuffa decided not to cut
        Nogueira even though Silva understood Zuffa had grounds to cut him under his contract for
        refusing to accept a fight. Id. at 307:4-7. Silva admitted that if Nogueira fought former UFC
        champion Rampage in Bellator, that would “improve Bellator’s ability to put on a successful
        event” and Silva testified that “[i]t’s not my job to help Bellator.” Rather, Silva admitted that
        “one of the ways you can help the UFC is to keep a guy under contract, because if you let him
        go, he would help Bellator.” Silva Dep. at 307:19-308:2.
        45
          The reserve clause originated in professional baseball in 1879 and was adopted by the other
        major team sports after they came into existence. The reserve clause is discussed at greater
        length below.
        46
           CG-UFC-00000005 (Item 204) (In June 2016, Raine Group was responding to potential
        investor due diligence questions, one of which asked for any Zuffa analyses of “athlete retention
        rate.” Raine Group’s prepared “formal response” was that “Management does not have this
        analysis as thye [sic] do not view it as relevant. Reminder that no athlete has left the UFC that
        the Company wanted to retain.”).

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        “marquee fighter” who had ever defected from the UFC to a competing MMA

        organization,47 and ultimately, Penn returned to the UFC after settling a lawsuit he filed

        against Zuffa and paying Zuffa damages.48

                  23.    While Zuffa’s contracts lock fighters into fighting for Zuffa and prevent

        fighters from offering their services to other promoters, they do not force Zuffa to make any

        similar long-term commitment to the fighters.49 On the contrary, under the terms of the

        “cut-clause,” “the UFC reserves the right to terminate a fighter’s contract after one or two

        consecutive losses.”50 Because of this, Zuffa can also threaten to cut fighters in the middle of

        their contracts, and then renegotiate for lower compensation.51 Since fighters do not have

        any commensurate option to terminate their contracts, Zuffa’s contracts are asymmetrical –

        they prevent fighters from becoming free agents during the most valuable part of their career

        but provide no guaranteed compensation to the fighters in exchange.52 In addition, Zuffa

        treats its fighters as independent contractors who cover their own costs for most medical

        insurance, trainers, food while they are training, and travel while they are training.53

                  24.    Zuffa will likely argue that its restrictive contracts are necessary for the

        47
             Silva Dep. at 59:14-24.
        48
             Silva Dep. at 7:2-9:8; Hendrick 30(b)(6) Dep. at 35:11-36:16.
        49
          DB-ZUFFA-00030406 (“Unlike many professional athlete organizations, the UFC’s contracts
        with its fighters do not guarantee significant payments to the fighters.”).
        50
             DB-ZUFFA-00020303 at 04.
        51
          See, e.g., ZFL-2496264 (Fighter Hector Lombard was on “his 4th fight of an 8-fight
        Agreement.” Under his original contract he was entitled to “205K to show and $75[K] to win”
        but Joe Silva explains, “He is no longer under that deal. In return for not being cut he is fighting
        a 1 fight deal for 100K.”).
        52
             Silva Dep. at 228:19-21 (Zuffa fighters only get paid when they fight).
        53
             Silva Dep. at 186:18-187:21.

                                                                                                           17




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        success of its business, and have purportedly improved both the popularity and the reach of

        MMA. Similar defenses of restrictive contracting in professional team sports were raised

        throughout the history of those sports as well. However, a review of that history indicates

        that similar tactics to those making up the challenged conduct here were progressively

        eliminated, limited, or otherwise regulated. The success of those sports, despite repeated

        interventions to enhance competition for talent, indicates that such restrictions are not

        reasonably necessary in order to promote success and popularity of a sport. On the contrary,

        the same history indicates that those goals can be accomplished without similar restrictions

        on competition among teams and leagues for talent.

                   IV. HISTORY OF RESTRICTIVE CONTRACTS IN OTHER SPORTS

        A.       The Use of Reserve Clauses and Related Restrictions in Team Sports/Leagues

                 25.   There are many parallels between the restraints on competition in the UFC’s

        labor market through the challenged conduct and the evolution of free agency in

        professional baseball, football, hockey, and basketball. Indeed, the parallels also extend to

        the entertainment industry outside of professional sports.54 In professional team sports,


        54
           For many years, Hollywood operated under the “studio system” under which studios employed
        actors under long-term exclusive contracts. The system was defended on the ground that it
        created an economic incentive for the studios to make the actor as famous as possible, since the
        studio would be guaranteed to reap the benefit of the actor’s future fame, rather than losing the
        actor to a competing studio after the actor’s fame, and therefore bargaining power, had increased.
        Rick Smith, “Here’s Why Hollywood Should Kiss the Handshake Deal Goodbye,” Note. 23 Loy.
        L.A. Ent. L. Rev. 503, 506-07 (2003). For actors under contract, the studios often maintained the
        actor’s salary at the same level, even as their fame increased, thus pocketing the increased
        revenue driven by the actor’s popularity. James Surowiecki, “Hollywood’s Star System, At a
        Cubicle Near You,” The New Yorker, May 28, 2001, available at
        http://www.newyorker.com/magazine/2001/05/28/hollywoods-star-system-at-a-cubicle-near-
        you. Under the studio system, a studio’s contracts with actors contained a number of extension
        provisions with similar effects to the Retirement Clause and Champion’s Clause in the standard

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        there are two potential sources of competition for athlete talent, intra-league and inter-league

        competition. Intra-league competition occurs among teams in the same league, to the extent

        it is not impaired by contractual restrictions. Inter-league competition occurs between

        competing leagues, to the extent competing leagues exist. Like inter-league competition,

        intra-league competition can operate as a source of competition in much the same way as

        competition could, in theory, arise between rival MMA promoters. Because of the potential

        existence of both types of competition, even when one does not exist, the other can lead to

        substantial competition for athletes’ services.

                 26.   Until the last decades of the twentieth century labor markets in professional

        sports initially functioned under the reserve system. Under that system, once an amateur

        athlete signed a professional contract to play for a specific team, that team owned the rights

        to that athlete for the entirety of his career, unless, of course, the team owner traded or sold

        the athlete to a new team. The reserve system essentially eliminated intra-league competition

        by using a variety of contractual methods to prevent athletes from ever becoming free

        agents.55



        UFC contracts. De Haviland v. Warner Bros. Pictures, 153 P.2d 983, 985 (Cal. Dist. Ct. App.
        1944). In the De Haviland case, the California courts concluded that the California Labor Code
        Section 2855 did not allow personal service contracts to extend beyond seven calendar years. Id.
        at 987. The court’s opinion in De Haviland ended the studio system and essentially created “free
        agency” for actors in Hollywood. Under the modern system, studios renegotiate contracts for
        every new project. See Surowiecki. This has not stopped studios from investing millions of
        dollars promoting films, and thus increasing the fame and popularity of actors, even though the
        actor is likely to work with a competing studio on his or her next project. Jeffery B. Same,
        “Comment: Breaking the Chokehold: An Analysis of Potential Defenses Against Coercive
        Contracts in Mixed Martial Arts,” 2012 Mich. St. L. Rev. 1057, 1079-80 (2012).
        55
          James Quirk and Rodney Fort, Pay Dirt: The Business of Professional Team Sports. Princeton,
        N.J.: Princeton University Press (1992) (hereinafter “Quirk and Fort”).

                                                                                                           19




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                 27.   Under the reserve system, the compensation level for an athlete was set by

        the team, largely independent of the value produced by the athlete. As a result, until free

        agency was introduced in the professional leagues, the only historical source of competition

        for athlete talent, and thus of higher compensation for those athletes, arose during periods of

        inter-league competition, when a rival league emerged to challenge the dominance of one of

        the major leagues. In each of those cases, the dominant league knocked out its competition

        through purchase, merger or exclusionary business practices, including, in some cases,

        attempts to enforce the reserve clause to prevent athletes from going to a rival league.56 By

        buying up rival leagues or driving them out of business, the established major leagues were

        able to end inter-league competition for athletes’ services. Under the reserve system,

        without any inter- or intra-league competition for their services, athlete salaries and benefits

        languished at very low levels.

                 28.   The free agency markets enjoyed by professional athletes today were created

        by a series of legal antitrust challenges and the formation of players’ associations that have

        engaged in collective bargaining with the major sports leagues to end the reserve system.

        Those battles led to a successive set of rules in each league that reduced the restrictions that

        players faced in reaching the end of their exclusive contract terms and receiving competing

        bids from other teams. Many of the restrictions that the leagues imposed on free agency

        mirror the strategies used by the UFC to put obstacles in the path of fighters reaching the


        56
          The history of rival leagues in professional team sports has been discussed by many authors.
        See, for instance, Harold Seymour, Baseball: The Early Years. New York: Oxford University
        Press, 1960; Stefan Szymanski and Andrew Zimbalist, National Pastime: How Americans Play
        Baseball and the Rest of the World Plays Soccer. Washington, D.C.: Brookings, 2006; and,
        Quirk and Fort, ch.8.

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        end of their contract terms and becoming free agents.

                29.    The history of the development of free agency and dynamics of inter-league

        competition within the professional team sports reveals how restrictions on athlete mobility

        affect both athlete compensation and the popularity of team sports. In each of the

        professional team sports, removal of restrictions on free agency led directly to higher

        compensation for athletes. In addition, contrary to the claims of the leagues and club

        owners, the advent of free agency did not spell doom for the popularity of any sport, but

        instead, if anything, enhanced their respective popularity and success.

                i.       Major League Baseball

                30.    Since the formation of the National League (NL) in 1876, professional

        baseball has experienced several episodes of inter-league competition that put significant

        upward pressure on player salaries. One of the more notable episodes occurred with the

        formation of the American Association (AA) in 1882. During the period of competition

        between the NL and AA nominal average annual salaries in the NL rose from $1,375 in

        1882 to $3,500 in 1891 (roughly the equivalent of $94,600 in 2017 dollars). Then, in 1891,

        four of the AA teams were absorbed into the NL and another five AA franchises were

        dissolved. Absent inter-league competition, average NL salaries fell steeply to $2,400 in

        1892.

                31.    Similar episodes occurred with the formation of the American League (AL)

        in 1901 until its accord with the NL in 1903 and with the Federal League in 1913 until its




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        dissolution and partial buy-out in 1915.57

                  32.    Prior to 1976, Major League Baseball (“MLB”) athlete contracts contained a

        reserve clause that permitted the clubs to automatically renew the individual player contracts

        for the next year in perpetuity if the team and the athlete could not agree to a contract.58 For

        example, the 1969 contract of Curt Flood,59 a player for the St. Louis Cardinals in MLB,

        included the following provision:

                  On or before January 15 … of the year next following the last playing season
                  covered by this contract, the Club may tender to the Player a contract for the
                  term of that year by mailing the same to the Player at his address following
                  his signature hereto, or if none be given, then at his last address of record
                  with the Club. If prior to the March 1 next succeeding said January 15, the
                  Player and the Club have not agreed upon the terms of such contract, then on
                  or before 10 days after said March 1, the Club shall have the right by written
                  notice to the Player at said address to renew this contract for the period of
                  one year on the same terms, except that the amount payable to the Player
                  shall be such as the Club shall fix in said notice; provided, however, that
                  said amount, if fixed by a Major League Club, shall be an amount payable at
                  a rate not less than 80% of the rate stipulated for the preceding year.60

                  33.    This reserve clause granted the St. Louis Cardinals control over Curt Flood for as

        57
          For more empirical detail on this period of inter-league competition in professional baseball,
        see Lawrence Kahn, “The Sports Business as a Labor Market Laboratory,” Journal of Economic
        Perspectives, vol. 14, no. 3, Summer 2000, at 75-94 (“Kahn”). See also, Anthony C. Krautmann,
        Peter von Allmen & David Berri, “The Underpayment of Restricted Players in North American
        Sports Leagues,” International Journal of Sport Finance (August 2009); Andrew Zimbalist,
        “Salaries and Performance: Beyond the Scully Model,” in P. Summers (ed.), Diamonds Are
        Forever. Washington, D.C.: Brookings, 1992.
        58
          The reserve system was introduced into baseball contracts in 1879. See Andrew Zimbalist,
        Baseball and Billions: A Probing Look Inside the Big Business of Our National Pastime. New
        York: Basic Books (1992) at 4-7. Also, see, Flood v. Kuhn, 407 U.S. 258, 259 n.1 (1972) (citing
        Metropolitan Exhibition Co. v. Ewing, 42 F. 198, 202-04 (S.D.N.Y. 1890)).
        59
          Rule 3 of the Major League Rules provided that player contracts were required to be uniform
        such that the reserve clause in the Curt Flood contract was the same as for all players. See Flood,
        407 U.S. at 259 n.1 (citing Major League Rules).
        60
             Exhibit B, at paragraph 10(a) (image of the 1969 Curt Flood Contract) (emphasis added).

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        long as the Club desired. Just as with the UFC’s contracts, Curt Flood’s contract also contained

        a clause stating that “while under contract, and prior to expiration of the Club’s right to renew

        this contract, he will not play baseball otherwise than for the club….”61

                  34.     Moreover, the Curt Flood contract only permitted the player to terminate the

        contract if “the Club shall default in the payments to the Player … or shall fail to perform any

        other obligation agreed to be performed by the Club hereunder and if the Club shall fail to

        remedy such default within ten (10) days.”62 By contrast, the Club had the right to terminate the

        contract under a variety of circumstances including if the player “fail[s], in the opinion of Club’s

        management, to exhibit sufficient skill or competitive ability to qualify or continue as a member

        of the Club’s team.”63 The standard UFC contract is similarly asymmetrical, locking in the

        Fighter for a stated number of bouts or months (and including various tolling and other extension

        provisions), while allowing Zuffa to cut a fighter after one loss or two consecutive losses.64

                  35.     Following his forced trade to the Philadelphia Phillies in October 1969, Curt

        Flood asked to be made a free agent. The Commissioner of Baseball declined that request.65


        61
             Id. at paragraph 5(a).
        62
             Id. at paragraph 7(a)
        63
             Id. at paragraph 7(b).
        64
           DB-ZUFFA-00020303 at 04 (“Unlike many professional athletic organizations, UFC’s
        exclusive contracts with its fighters do not guarantee significant payments to the fighters who do
        not perform. All fighters are classified as independent contractors that receive benefits based on
        the number of fights they participate in. Fighters that sign a contract with UFC are unable to
        fight in any other MMA organization. Notably, UFC actively structures contracts to limit fixed
        costs. Generally, the UFC signs fighters to 1-3 year contracts and pays them an agreed upon
        amount each time they fight…. Underperforming fighters do not have the ability to create long
        term liabilities since the UFC reserves the right to terminate a fighter’s contract after one or two
        consecutive losses (“Cut-clause”).”).
        65
             See Flood, 407 U.S. at 265.

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        Flood then challenged his MLB contract in federal court. The Supreme Court decided his case in

        1972. Subsequent to a review of the Court’s jurisprudence in prior cases concerning the

        “business of baseball” and the reserve clause, the Court held that baseball’s reserve clause

        system enjoyed an exemption from the federal antitrust laws, although such exemption is “in a

        very distinct sense, an exception and an anomaly …. confined to baseball.”66 The Court

        specifically noted that “[o]ther professional sports operating interstate—football, boxing,

        basketball and, presumably, hockey and golf—are not so exempt.”67

                  36.      Despite the Supreme Court’s endorsement of baseball’s antitrust exemption,

        baseball players became the first professional athletes to achieve significant free agency, through

        strategies involving collective bargaining and arbitration rather than through the courts. In 1970,

        the MLB Players Association won the right to arbitrate player salary disputes in front of a neutral

        arbitrator instead of the MLB commissioner. In 1974, pitcher Jim “Catfish” Hunter became the

        first player to take advantage of arbitration to escape the reserve clause and become a free agent.

        The arbitrator declared Hunter’s contract was void based on a technicality that arose from the

        Oakland Athletics’ withholding part of his $100,000 salary connected to a pension contribution.

        After Hunter won free agency in arbitration, through a competitive bidding process he was able

        to secure a five-year contract with the New York Yankees for $3.35 million.68 The 750%

        increase in his salary from 1974 to 1975 dramatically demonstrated to everyone in the baseball

        world the impact of free agency on athlete compensation.


        66
             Id. at 282.
        67
             Id. at 282-83.
        68
          Paul Weiler, Leveling the Playing Field: How the Law Can Make Sports Better for Fans
        (2000) at 138.

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                  37.     Hunter’s success led other baseball players to devise strategies to escape MLB’s

        reserve clause. Shortly after the Hunter arbitration, Andy Messersmith of the Los Angeles

        Dodgers and Dave McNally of the Montreal Expos, neither of whom had signed his contract for

        the year after the reserve clause was first invoked, declared themselves to be free agents. The

        owners of the MLB Clubs disagreed, arguing that the reserve clause renewed the contracts in

        perpetuity. The Messersmith and McNally cases were submitted to arbitration before arbitrator

        Peter Seitz. On December 23, 1975, Seitz issued his ruling that Messersmith and McNally were

        free to bargain with other teams because MLB could not maintain a player’s services

        indefinitely.69

                  38.     Following the Messersmith and McNally arbitration decisions, more than half of

        MLB players chose to play out their contract options during the 1976 season.70 Simultaneously,

        the players and MLB entered into negotiations over a new collective bargaining agreement

        (“CBA”), after their prior CBA expired at the end of 1975. By mid-summer 1976, the players

        were successful in reaching an agreement with MLB providing for substantially unrestricted free

        agency for veterans with six years of service in the major leagues, as well as the right to salary

        arbitration after two years of service.

                  39.     Although this form of free agency was still restricted in many important ways,




        69
          See Associated Press, “Arbitrator’s Ruling Puts Baseball in Hot Corner,” Chicago Tribune,
        Dec. 25, 1975, available at http://archives.chicagotribune.com/1975/12/25
        /page/82/article/arbitrators-ruling-puts-baseball-in-hot-corner.
        70
             Weiler at 140.

                                                                                                             25




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        salary increases quickly ensued.71 In 1976, the year before free agency hit in earnest, the average

        MLB player salary was $51,501. The following year, salaries jumped to approximately $76,000.

        Five years later, in 1981, with free agency in full swing, the average salary had risen 3.6 times to

        $185,651. The salary share in total baseball revenue increased as well: from 17.6 percent in

        1974, to 20.5 percent in 1977 and to 41.1 percent in 1982.72 By 1992, the average salary

        exceeded a million dollars. Today, it exceeds $4 million. As top salaries grew and raised average

        salaries, they also pushed the market upward for all players. Baseball players’ minimum salary

        increased from $16,000 in 1975, to $30,000 in 1980, to $60,000 in 1985, $100,000 in 1990 and

        to $507,500 in 2015. Indeed, between 1990 and 2015 the minimum salary grew by over five

        times while the average salary grew by 3.56 times.73

                 ii.        National Football League

                 40.       Like MLB, the NFL imposed severe restrictions on player movement between

        teams that limited salary growth. Each team used standard player contracts which prohibited

        players from signing with another club without the consent of the club holding the player’s

        contract. The contracts were enforced by agreement of the clubs to blacklist any player violating

        them and to “visit severe penalties on recalcitrant member clubs.”74

                 41.       However, unlike in professional baseball during the middle of the twentieth

        century, the existence of multiple leagues created competition for player talent. In the 1940s, for

        71
           This is at least in part due to the fact that the salary levels set by those players who were
        allowed to become free agents started figuring into the arbitrator’s calculations of the benchmark
        prevailing wage.
        72
             Kahn at 81.
        73
           This data comes from the Major League Baseball Players Association and is cited at
        www.latimes.com/sport/mlb/la-sp-mlb-salaries-chart-20160329-story.html.
        74
           See Radovich, 352 U.S. at 449.

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        example, professional football players could contract with the NFL, the Pacific Coast League

        (which was affiliated with the NFL), the All-America Football Conference (“AAFC”), or the

        American Football League (“AFL”).75 Prior to the 1970 merger of the NFL and the AFL (then

        the last remaining competitor to the NFL), the leagues generally competed with each other for

        player talent, with some important limitations.76

                 42.   In the 1950s, during the period of NFL-AAFC inter-league competition, the NFL

        owners realized that they would be unlikely to be able to enforce their reserve clause to block

        players from moving to a rival league. Instead, the NFL owners established a “blacklisting”

        policy meant to prevent players from attempting to leave in the first place by barring any player

        who left the league from being able to return.77 The NFL enforced the blacklisting policy against

        Pete Radovich, who had moved from the Detroit Lions to the Los Angeles Dons in the newly


        75
          In fact, four different top-level professional football organizations used the name “American
        Football League.” The first AFL operated in 1926 and consisted of nine teams. The second AFL
        operated during 1936-1937 and consisted of eight teams. The third AFL operated during 1940-
        1941 and had six teams in 1940 and five teams in 1941. The fourth and final American Football
        League was founded in 1960 and operated until 1969 when it was merged with the NFL for the
        1970 season.
        76
          For example, as noted in the 1957 Supreme Court case Radovich v. National Football League,
        352 U.S. 445, 448 (1957), the Pacific Coast League and the NFL did not compete over players
        who were already under contract in one or the other league.
        77
           Zuffa is alleged to have similarly blacklisted fighters who worked with potential rivals. CAC ¶
        116. For example, in November, 2009 EA Sports announced the launch of an MMA video game
        featuring Strikeforce as its flagship promotion. Steve Sievert, “Strikeforce to be flagship
        promotion in upcoming ‘EA Sports MMA’ videogame,” MMAJunkie.com, Nov. 06, 2009,
        available at https://web.archive.org/web/20091109023530/http://mmajunkie.com/news/16763/
        strikeforce-to-be-flagship-promotion-in-ea-sports-mma-videogame.mma. UFC President Dana
        White responded by declaring himself “at war” with EA over the development of the video
        game. ZUF-00335242. His ammunition in that war was UFC’s dominance, and he quickly “made
        it clear that any fighter who signs over their likeness to the new project will be blacklisted from
        the UFC,” and explained that “fighters who sign contracts to appear in EA Sports’ upcoming
        MMA title ‘will find themselves out of the UFC’s good graces.’” ZUF-00335242.

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        created AAFC in order to be closer to his sick father.78 Years later, after being blacklisted and

        prevented from returning to the NFL as a coach, Radovich responded with an antitrust lawsuit

        that resulted in the Supreme Court holding that baseball’s antitrust exemption does not apply to

        professional football.79 After the Supreme Court held that Radovich was entitled to prove his

        antitrust allegations against the NFL, the NFL eventually settled the case.

                  43.    Despite such attempts to restrict inter-league competition, the existence of

        multiple leagues in football led to substantial increases in compensation for professional football

        players. Specifically, NFL salaries increased from an average of $10,000 in 1960 to $25,000 in

        1967 due to inter-league competition between the NFL and the AFL, reflecting significantly

        higher compensation than that made by professional baseball players who were subject to the

        reserve clause and lacked the benefit of competition between leagues. Attempting to avoid this

        competition, the NFL and AFL merged in 1970, ending inter-league competition. The merger

        avoided antitrust review through a late-night amendment to an unrelated tax bill that made the

        merger immune from antitrust challenge.80

                  44.    After the merger ended inter-league competition, the NFL’s version of the reserve

        system also prevented intra-league competition through free agency, just as in MLB. Players

        who signed a contract with a particular club or who were drafted by the club (regardless of

        whether they signed a contract), were added to the club’s “reserve list,” which barred other NFL



        78
             See Radovich, 352 U.S. at 449; Weiler at 150-151.
        79
             Radovich, 352 U.S. at 452.
        80
          Weiler at 151. In exchange for introducing this amendment to the tax bill, Senator Russell
        Long and representative Hale Boggs got an NFL franchise for Louisiana, the New Orleans
        Saints. Id.

                                                                                                            28




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        clubs from negotiating with the player.81 NFL players who were on a club’s “reserve list” could

        only play for that NFL club. If the player sat out and refused to play, he remained on the

        “reserve list.”82 Under the standard player contract, the player was bound to his club for a period

        of at least two years.83 In addition, the standard NFL player contract contained a provision

        known as the “Option Rule,” which gave the employing club a unilateral option to renew the

        contract for a further term of one year at a reduced rate of compensation.84 The purpose of this

        rule was to coerce players to sign a new contract on the owner’s terms under peril of having to

        serve another year at reduced compensation.85 The player could only become a free agent after

        playing out the option year at reduced compensation.86 The NFL also had a so-called

        “tampering” rule, which required that during the time a player was under contract with one club,

        including the option year, all other clubs were prohibited from negotiating with or making offers




        81
             Kapp v. Nat’l Football League, 390 F. Supp. 73, 76 (N.D. Cal. 1974).
        82
           Similarly, fighters under contract with the UFC are only permitted to fight for the UFC unless
        Zuffa gives them permission to fight for another MMA promoter. If a fighter were to sit out and
        refuse to fight, the contract would be tolled indefinitely and thereby prevent him or her from
        fighting for any other MMA promoter. While Zuffa has occasionally granted exceptions, those
        have only been for non-televised fights, limiting the exceptions to events that did not present any
        serious competitive threat to the UFC. Silva explained that since 2000, Zuffa has given fighters
        permission to fight for another promotion under their contract approximately 20 times. Silva
        Dep. at 229:2-24, 232:5-13, 233:2-234:4 (“It was one of the provisions, that it wouldn’t be a
        televised fight.”).
        83
          Mackey v. Nat’l Football League, 407 F. Supp. 1000, 1005 (D. Minn. 1975), aff’d in part, 543
        F.2d 606 (1976) (discussing R.C. Owens becoming a free agent after playing out his option
        year).
        84
             Kapp, 390 F. Supp. at 77.
        85
             Id.
        86
             See Mackey, 407 F. Supp. at 1003.

                                                                                                           29




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        to the player.87

                   45.     The Rozelle Rule was unilaterally adopted by the NFL clubs in 1963 as an

        amendment to the NFL’s Constitution and By-Laws.88 The Rozelle Rule essentially provided

        that a player could become a free agent if he waited until his contract expired and played through

        the option year, but any other team who wanted to sign that player also needed to compensate the

        player’s former club.89 If the two clubs were unable to conclude mutually satisfactory

        arrangements, the Commissioner would award compensation in the form of one or more players

        and/or draft picks.90 Since the Commissioner’s decision on appropriate compensation was open-

        ended, it was sufficient to deter virtually all player movement between clubs.

                   46.     The Rozelle Rule was challenged in Mackey v. National Football League in 1975.

        In that case the Eighth Circuit observed that, although a player “theoretically gains his freedom

        and may bargain with any club” after he plays out his option year, “[s]uch freedom appears to be

        illusory.”91 Among other reasons, the court noted the substantial deterrent effect for becoming a

        free agent created by forcing a player to endure the hardship of playing through the option year

        knowing that “he probably will have no choice but to return to the defendant club to which he




        87
           Id. at 1005-6. This rule is somewhat similar in effect to the UFC’s ban on negotiating with
        rivals while under contract and then during the exclusive negotiation period. These provisions
        restrict the time an athlete has to negotiate for offers from a new employer, thus increasing the
        risk to a player that if they try to play out their contract and become a free agent, they could end
        up with no offer at all.
        88
             Id.
        89
             Mackey v. NFL, 543 F.2d 606, 609 n.1 (8th Cir. 1976).
        90
             Id.
        91
             Mackey, 407 F. Supp. at 1006.

                                                                                                           30




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        has already announced his intention to leave.”92

                  47.       The Mackey court concluded that, under such circumstances, the NFL’s rules

        operated similarly to professional baseball’s reserve clause, even though, in three isolated

        instances, a player had signed with a new team without compensation having been determined in

        advance.93 The court concluded that the Rozelle Rule in conjunction with the rest of the NFL’s

        reserve system – including the standard exclusive player contract, the option clause, and the

        tampering rule – was designed to “impose severe hardships on a player prior to his ever

        becoming a free agent and act to discourage and deter players from playing out the option and

        achieving that status.”94 Ultimately, the court found that the NFL’s reserve system substantially

        restricted players’ freedom of movement, reduced their bargaining power in contract

        negotiations, and resulted in lower salaries paid by each club than if competitive bidding were

        allowed to prevail.95

                  48.       The NFL offered a number of justifications for the Rozelle Rule, including that it

        was purportedly necessary to protect the clubs’ investment in scouting expenses and player

        development costs.96 However, the court rejected this justification, finding that the expenses


        92
          Id. at 1006-07. Note that similar obstacles exist to UFC fighters successfully becoming free
        agents, in particular the risk of foregoing any compensation for over a year, as well as the ability
        of Zuffa to deny them advantageous matchups and card placement if they attempt to fight out
        their contract. See supra Section III.
        93
             Id. at 1006.
        94
          Id. at 1005. Note the substantial parallels between the NFL’s methods to prevent free agency
        and those used by the UFC.
        95
             Id. at 1007.
        96
           Zuffa may offer a similar justification here for their conduct and contracting practices that
        make it difficult for fighters to become free agents. Hendrick Exh. 2 at 4 (“If an athlete is injured
        at another MMA event, that athlete could be unavailable for a UFC event, which would

                                                                                                            31




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        incurred by the clubs in player development are similar to those incurred by other businesses,

        and that there is no right to compensation for this type of investment.97

                   49.   Although the NFLPA won a judicial battle in Mackey against the NFL’s reserve

        system, that victory did not lead to free agency in the NFL. After a failed strike in the summer of

        1974 and incurring huge legal expenses in its attempt to secure full free agency via litigation,

        union leaders settled the Mackey case and entered into a new five-year collective bargaining

        agreement with the NFL that bartered compensation improvements for players in exchange for a

        new version of the Rozelle Rule.98 During the next ten-year period under which the compromise

        was in place, only one “free” agent who was subject to draft pick compensation actually shifted

        to a new team.99 As a result of these restrictions on free agency in the NFL, average player

        salaries increased from $55,000 in 1977 to $90,000 in 1982, while during the same period of

        time as free agency flourished in baseball average salaries in MLB increased from $52,000 in

        $241,000, even though during that period the NFL’s popularity was rising faster than MLB’s

        under any financial metric.100


        jeopardize Zuffa’s significant investment in promoting its athletes and events.”). However, I
        have seen no evidence that Zuffa incurs special training costs above and beyond those incurred
        by other professional sports teams such as the NFL clubs. On the contrary, Zuffa fighters are
        treated as independent contractors who cover their own costs for most training, management,
        medical insurance, food, nutritional supplements, physical therapy, etc., and travel while they are
        training. Silva Dep. at 186:18-187:21.
        97
             Mackey, 543 F.2d at 621.
        98
             Weiler at 154. Under the new version of the rule, compensation was limited to draft picks.
        99
             Id.
        100
           Id. at 155. It bears mention that there was a period of less than two years when the NFL faced
        competition over players during 1974 and 1975 from the startup World Football League (WFL).
        The WFL was poorly organized and underfunded, yet it did compete over players with the NFL
        and probably had some impact on the modest NFL salary growth during the 1970s.

                                                                                                           32




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                  50.    Following another NFL players’ strike of seven weeks during 1982, the United

        States Football League (USFL) was born, with Donald Trump as owner of the New Jersey

        Generals. Initially a number of prominent NFL players jumped to the USFL and vigorous salary

        competition ensued. While real average NFL salaries increased at an annual rate of 4 percent

        between 1977 and 1982, and at 5 percent per year between 1985 and 1989, during the three years

        of competition with the USFL average salaries grew at a 20 percent annual clip.101 However, the

        NFL had locked up broadcasting contracts at the three major national networks, which shut the

        USFL out of meaningful television revenue. Following a successful antitrust challenge on

        liability, but a monetary award of only $3 (after trebling), the USFL folded.

                  51.    It was not until after another major legal battle that free agency came to the NFL

        in earnest. In 1989, the NFL owners unilaterally implemented “Plan B free agency.”102 Plan B

        free agency stipulated that each team could reserve 37 of the 45 players on its active rosters.

        That is, only the 8 least productive players on each team gained free agency rights, while the 37

        most productive players did not. In McNeil, the NFL’s reserve system (Plan B free agency) was

        deemed to be an illegal restraint of trade by a jury trial in 1992, which found that Plan B had a

        “harmful effect on competition in the relevant market for the services of professional football

        players[,]” that it was “more restrictive than necessary to achieve the objective of establishing or

        maintaining competitive balance in the NFL[,]” and that the players had suffered economic

        injury as a result. Following the resolution of McNeil, several other players brought a class

        action seeking to prevent the NFL from imposing any restrictions on the movement of players


        101
              See Kahn at 80.
        102
              McNeil v. NFL, No. 4-90-476, 1992 WL 315292, at *1 (D. Minn. Sept. 10, 1992).

                                                                                                            33




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        whose contracts expired on February 1, 1993.103 In February 1993, the NFL and a class of

        players entered into a settlement agreement which expanded unrestricted free agency to veteran

        players with more than five years of experience,104 with a few remaining exceptions.105 The

        settlement also implemented a salary cap based on an agreed upon share of the NFL’s

        “Designated Gross Revenues” (“DGR”), ranging from 62%-67%.106

                     52.     As a result of the arrival of unrestricted free agency for veteran players, average

        salaries increased from approximately $490,000 in 1992 to $650,000 in 1993, high enough to

        trigger the salary cap.107 By 1999, with the salary cap still in place, average player salaries had

        reached approximately $1.1 million.108 Further, as in baseball, the salary dynamic ensuing from

        free agency increased salaries across the board: average salaries were pulled up by the stars’

        salaries and minimum salaries followed the upward trend in parallel. Thus, the minimum salary

        in the NFL rose from $50,000 in 1985 to $325,000 in 2010 and to $435,000 in 2015. That is, the

        minimum salary increased 8.7 fold over this period or at a healthy compound annual rate of 7.5

        percent.109

                    iii.      National Hockey League


        103
              White v. NFL, 822 F. Supp. 1389, 1395 (D. Minn. 1993).
        104
              Id. at 1412.
        105
              See id. at 1412-13; infra, section IV. B.
        106
              Id. at 1413.
        107
              Weiler at 110.
        108
              Id.
        109
           Note that minimum salaries in the NFL and NBA vary according to a player’s years of
        service. They are lowest for rookies and highest for the longest standing veterans. I report the
        rookie minimums here, because are the lowest permissible level for salaries. But a similar trend
        exists across the salary spectrum.

                                                                                                                   34




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                    53.   The history of the reserve clause in the National Hockey League (“NHL”) is also

        relevant to an analysis of the effects of the challenged conduct because reform came in the

        context of a challenge by a competitor to the NHL, the World Hockey Association (“WHA”) and

        NHL players who wanted to play in the WHA. The NHL attempted to use the reserve clause to

        prevent the players from playing in the WHA. In turn, the players and WHA challenged the

        NHL’s use of the reserve clause as an anticompetitive scheme designed to willfully maintain its

        monopoly over major league professional hockey.

                    54.   Prior to the formation of the WHA in 1971, the NHL was the only major league

        professional hockey association in North America.110 There were, however, three other

        professional hockey leagues at that time, the American Hockey League (“AHL”), the Western

        Hockey League (“WHL”), and the Central Hockey League (“CHL”),111 which were considered

        inferior to the NHL.112 At the time, the best players played in the NHL notwithstanding the

        existence of these other leagues.113 The NHL invested in these minor leagues, however, due to

        the important role those leagues played in developing talent for the NHL.

                    55.   NHL players were required to sign a uniform Standard Player’s Contract. The

        Standard Player’s Contract included a reserve clause from at least 1952.114 The contract used

        during the 1971-72 playing season contained the following provision:


        110
           Philadelphia World Hockey Club, Inc. v. Philadelphia Hockey Club, Inc., 351 F. Supp. 462,
        474 (E.D. Pa. 1972).
        111
              The CHL teams were owned by the NHL. Id.
        112
              Id.
        113
          Id. There were two other leagues, the International Hockey League and the Eastern Hockey
        League, but they were viewed as “amateur” or “semi-professional” leagues at best. Id.
        114
              Philadelphia World Hockey Club, 351 F. Supp. at 475.

                                                                                                         35




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                            The Club agrees that it will on or before September 1st … next
                            following the season covered by this contract tender to the Players
                            personally or by mail … a contract upon the same terms as this
                            contract save as to salary.

                            The Player hereby undertakes that he will at the request of the Club
                            enter into a contract for the following playing season upon the
                            same terms and conditions as this contract save as to salary which
                            shall be determined by mutual agreement.115

                    56.     In addition to the reserve clauses featured in all NHL player contracts as of 1972,

        the NHL By-Laws established various “lists” which related to the right of NHL teams to control

        the services of professional players.116 These “lists” included a “Voluntary Retired List,” a

        “Protected List” and an “Inactive List.”117 Similar to the NFL, the By-Laws of the NHL also

        forbid “tampering” with any player controlled by another club, where tampering was defined to

        include negotiating with, offering employment, or discussing employment.118

                    57.     When the WHA began attempting to sign NHL players to play in the WHA, the

        NHL invoked the reserve clause in an effort to block players from leaving the NHL for the

        WHA. Over 20 major and minor lawsuits between the WHA and NHL ensued.119 The conduct

        that the WHA complained of, similar to the challenged conduct here, was the NHL’s contracts


        115
           Id. at 474 (citing NHL By-Laws § 2.2(a); Exhibit D-1, Campbell Affidavit, Ex. D-4). Any
        player’s Standard Player’s Contract entered subsequent to March 29, 1972 (after the entry of the
        WHA to the market for professional player services), would contain a similar clause that added
        reference to an arbitration agreement for determining player salaries when the parties could not
        agree. Id. at 475.
        116
              Id. at 476.
        117
              Id.
        118
              Id. at 477.
        119
            Steven A. Riess, Sports in America from Colonial Times to the Twenty-First Century (2011)
        at 962. See also Philadelphia World Hockey Club, 351 F. Supp. at 488 (describing “at least 11
        legal actions” to enforce the NHL reserve clause as of November 1972).

                                                                                                             36




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        and its enforcement strategies. These strategies allowed the NHL to control the supply of players

        who were capable and available for play in any potential new league where the level of internal

        competition might have fairly approached the level then existing in the NHL.120

                    58.     Among those lawsuits was the case Philadelphia World Hockey Club, Inc. v.

        Philadelphia Hockey Club, Inc. The case was a consolidated action concerning the WHA and

        NHL and also involved various hockey teams and John McKenzie, an NHL player seeking to

        play in the WHA.121 The WHA sought a preliminary injunction against the enforcement of the

        NHL’s reserve clause to prevent NHL players from signing with WHA teams. A federal court

        granted the injunction in 1972. A primary basis for the granting of the injunction in favor of the

        WHA was the finding that the “total effect of the NHL’s conduct will be to destroy the economic

        viability of the new league [the WHA] and to return to the NHL their monopoly over major

        league hockey.”122 In doing so, the court also recognized that “[i]f the WHA should be driven

        out of business, the public and players would lose the benefit of competition which has already

        raised players’ salaries and made hockey available to new audiences.”123

                    59.     The NHL owners responded to the injunction by unilaterally modifying the

        reserve clause rules in November 1973 to adopt a version of the one-year option similar to the

        Rozelle Rule used by the NFL. As in the NFL, if a player played out the option year, he would

        be able to move to another team. However, if he switched to another NHL team rather than

        leaving for the WHA, the new team would have to compensate the old team with a combination

        120
              Philadelphia World Hockey Club, 351 F. Supp. at 509.
        121
              Id. at 462.
        122
              Id. at 496.
        123
              Id.

                                                                                                          37




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        of current player contracts, draft choices, and/or cash.124 If the teams could not agree on the

        compensation themselves, it would be chosen from their “last best offer” submitted to an NHL

        arbitrator.125 In February 1974, the district court approved a settlement in the ongoing lawsuit

        between the WHA and NHL126 that included monetary damages, inter-league play and the NHL

        modifying its standard contract to free players to move to a rival league. The two leagues

        eventually agreed to recognize each other’s contracts and, beginning in 1974, 67 exhibitions

        games were played between teams in the two leagues.127 The NHLPA agreed to the new reserve

        system because the continued existence of inter-league competition from the WHA was

        sufficient to keep salaries rising, with the caveat that the agreement was terminable if the NHL

        ever merged with the WHA.

                    60.     As noted by the Philadelphia World Hockey court, player salaries increased

        dramatically after the WHA entered the market.128 The average former NHL player who joined

        the WHA saw salaries increase from $31,000 in 1971-72 to $53,000 in 1972-73.129 For many

        players, the increase was even more pronounced. Derek Sanderson’s salary went from $50,000

        per season in the NHL to $300,000 in the WHA.130 Gerry Cheevers’s salary rose from $47,500 in

        the NHL to $200,000 in the WHA.131 In other cases, players received significant counter offers


        124
              McCourt v. Cal. Sports, Inc., 460 F. Supp. 904, 906 (E.D. Mich. 1978).
        125
              Id.
        126
              Id. at 910.
        127
              Id.
        128
              Philadelphia World Hockey, 351 F. Supp. at 488.
        129
              See Riess, supra, at 962.
        130
              Id.
        131
              Id.

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        to stay in the NHL. John McKenzie made $48,000 in 1971-72 and, to keep him from leaving for

        the WHA the following season, McKenzie’s NHL team offered him $100,000.132 With NHL

        players leaving or threatening to leave for the WHA, the average NHL salary rose from $24,000

        in 1971-72 to $40,000 in 1972-73.133

                    61.   By 1979, however, the WHA and NHL agreed to the functional equivalent of a

        merger after several years of discussions between the two leagues concerning cost controls and

        the manner of reestablishing a monopoly in the industry.134 Although the merger triggered the

        NHLPA’s right to renegotiate its agreement, the players ultimately agreed to a heavily restricted

        version of free agency that severely limited intra-league competition for talent. While average

        NHL salaries had reached approximately $96,000 in the 1977-78 season, significantly higher

        than the $76,000 achieved in baseball after a full year of free agency, in the years after the

        merger, players’ salaries leveled off.135 By the early 1990s, hockey nominal salaries averaged

        just slightly over $200,000, while free agency had driven baseball’s average salaries over $1

        million.136 Moreover, in real 1977 dollars, the $200,000 salary in 1991 was worth only $90,000.

        So, after adjusting for intervening inflation, the average NHL salary actual fell during this period

        of reduced competition after the merger.

                    62.   In 1992, through collective bargaining, the NHLPA negotiated a moderate form

        of unrestricted free agency for players 31 or older and/or those with 10 years of service who

        132
              Id.
        133
           Id. Further, minor league players saw their wages rise with the entry of the WHA into the
        player services market. Players who joined the WHL doubled their wages. Id.
        134
              Id.
        135
              Weiler at 156.
        136
              Id.

                                                                                                          39




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        were earning less than the league average.137 In combination with salary arbitration, even this

        restricted form of free agency drove average NHL salaries to $900,000 in 1995-96, and to $1.5

        million in 2005-06.138 As with MLB and the NFL, the advent of free agency in the NHL brought

        increases not only to top and average salaries, but also commensurate growth in the minimum

        salary. The NHL’s minimum salary grew from $125,000 during the 1995-96 season to $450,000

        during 2005-06. Thus, reduced restrictions on free agency led to higher compensation for

        athletes across the board.

                    iv.        National Basketball Association

                    63.   From 1949 to 1959, the National Basketball Association (“NBA”) was the

        only professional basketball league in the United States.139 Like the other three major sports

        leagues, the NBA used a reserve clause up until the mid-1970s.140 Until 1967, the reserve

        clause essentially restricted all competition for NBA player talent. However, in 1967, a

        competing league was created, the American Basketball Association (“ABA”). By the early

        1970s, bidding wars between the NBA and the ABA had caused average salaries to increase

        from approximately $20,000 in 1967 to approximately $90,000 in 1972.141 In 1972, NBA

        137
              Id.
        138
            Id.; “Average Salary for EPL, NBA, MLB, NFL, NHL, MLS, WNBA, AFL etc…”
        BigSoccer.com, Apr. 14, 2006, available at http://www.bigsoccer.com/threads/average-salary-
        for-epl-nba-mlb-nfl-nhl-mls-wnba-afl-etc.339337/; Kevin Yam, “Salary of a Hockey Player,”
        The Physics Factbook, 2005, available at https://hypertextbook.com/facts/
        2005/KevinYam.shtml.
        139
            See Thane Rosenbaum, “Antitrust Implications of Professional Sports Leagues Revisited:
        Emerging Trends in the Modern Era,” 41 U. Miami L. Rev. 729, n.180 (1987).
        140
           See Richard E. Bartok, “NFL Free Agency Restrictions Under Antitrust Attack,” 41 Duke L.J.
        503, 515 n.66 (1991) (citing James B. Dworkin, Owners versus Players: Baseball and Collective
        Bargaining. Boston, Mass: Auburn House (1981) at 233.
        141
              Weiler at 152.

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        players were the highest compensated in any of the team sports and the salary share in

        revenue had grown from 30 percent in 1967 to 66 percent in 1972.142

                  64.     From the outset, the owners of the teams in the ABA sought to merge with

        the NBA. When word of merger discussions leaked out to the players, they responded in

        1970 with an antitrust class action against both leagues in the name of National Basketball

        Players’ Association president, Oscar Robertson.143 In Robertson v. National Basketball

        Association, 389 F. Supp. 867 (S.D.N.Y. 1975), the players alleged that the NBA

        monopolized major league professional basketball by: (1) controlling the terms upon which

        major league basketball was played in the United States; (2) allocating and dividing the

        market for professional player talent; and (3) enforcing its monopoly through boycotts,

        blacklists and concerted refusals to deal.144

                  65.     At that time, the Uniform Contract that all players were required to sign

        included exclusionary provisions such as:

                               a. A provision requiring that the player shall play basketball for his
                                  club or its assignees exclusively until “sold” or “traded;”

                               b. A provision that the club has the absolute right to sell, exchange,
                                  assign or transfer the Uniform Contract on the same terms to another
                                  club;

                               c. A provision stating that if the player refuses to play, the club may
                                  either terminate the Uniform Contract or seek an injunction to
                                  prevent the player from playing basketball for anyone else; and

                               d. A reserve clause which provides that if the player refuses to sign the
                                  Uniform Contract for the next playing season, the club can

        142
              Kahn, op cit., at 79.
        143
              Robertson v. National Basketball Assn., 389 F. Supp. 867, 873 (S.D.N.Y. 1975).
        144
              Robertson, 389 F. Supp. at 873-74.

                                                                                                           41




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                                     unilaterally renew and extend the contract on the same terms and
                                     conditions including salary.145

                    66.   The plaintiff players alleged that the NBA used those provisions not only to

        prevent player movement and negotiation between teams in the NBA, but also to prevent

        players from leaving for the ABA.146 The Robertson court reviewed the decisions in the

        recent hockey cases (including Philadelphia World Hockey decision) and expressed

        substantial skepticism as to whether the reserve rule, the proposed merger between the NBA

        and the ABA, and other allegedly exclusionary conduct of the NBA could survive scrutiny

        under the antitrust laws.147 In the face of this judicial opposition, and finding themselves

        unlikely to get a special exemption from Congress to immunize their league merger, the

        NBA owners entered into a ten-year settlement with the players. The settlement introduced

        free agency in two stages, in exchange for allowing the NBA and ABA merger to go

        forward in 1976 and reestablishing the NBA’s monopoly over the sport.

                    67.   From 1976 to 1980, the perpetual reserve rule was replaced with a

        compensation scheme similar to the NFL’s Rozelle Rule.148 Under this scheme, the NBA

        commissioner determined compensation to be paid to the club that lost the free agent, which

        could consist of cash, draft picks, or players already in the NBA if the teams were unable to

        settle the matter among themselves.149 From 1981 to 1986, the NBA was to abolish its


        145
           Id. at 874. If the player is “traded” or “sold” under the Uniform Contract, the reserve clause
        can be invoked by the new team. Id.
        146
              Id.
        147
              See id. at 893-896.
        148
              Bartok at 503, n.66.
        149
              Id.

                                                                                                            42




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        compensation scheme for free agency and replace it with a right of first refusal.150

                    68.   During this period where free agency was introduced to basketball, average

        salaries rose from $143,000 in the 1977-78 season to $246,000 in the 1982-83 season, while

        average hockey salaries (which continued to have highly limited competition for athletes)

        did not even keep pace with inflation during that same period.151

                    69.   In 1983, the NBA and the players’ union reaffirmed the right of first refusal

        and added a mandatory salary floor and cap.152

                    70.   In 1988, the new collective bargaining agreement maintained this free agency

        structure, except that it eliminated the right of first refusal for “veteran” players who play

        out their second contract.153 With some modifications, the basic structure of NBA free

        agency has largely survived in similar form since that 1983 deal.

                    71.   The salary increases that resulted from free agency in the NBA were also

        spread broadly across all NBA players, including the lowest compensated. With the

        introduction of the salary cap for the 1984-85 season and the concomitant lifting of player

        compensation for the signing of free agents, the average salary in the NBA began to

        skyrocket, reaching $3 million during the 1998-99 season and eventually $6.25 million

        during the 2016-17 season. Mimicking the pattern in the other leagues, the NBA minimum

        salary increased from $37,500 in 1979-80, to $65,000 in 1984-85, $150,000 in 1994-95,

        150
              Id.
        151
           Weiler at 156-57 (noting hockey salaries increased from $96,000 to $112,000 during the same
        period).
        152
              Id.
        153
           Id. Veterans were initially defined to include players who had five years of NBA service.
        Starting in 1993 the threshold was reduced to four years of service.

                                                                                                          43




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        $385,000 in 2004-05, and $543,400 in 2016-17.

        B.        Collective Bargaining and Modern Restricted Free Agency

                  72.     As the above history illustrates, in addition to judicial intervention, collective

        bargaining played an important role in the eventual elimination of the reserve system—a

        system with competitive restraints on “free agency” akin to what Zuffa has perpetuated with

        the UFC through the challenged conduct—in each of the team sports. However, in the

        process of negotiating these reforms through collective bargaining, the players and team

        owners have agreed to implement or maintain a variety of restrictions on free agency

        preventing the existence of a fully competitive labor market. One such restriction is the

        right of first refusal, which limits the ability of a player to move to another team by giving

        their first team a right to match competing offers during a specified period of time.154

                  73.    In the NBA, for instance, when the players won the right to free agency as

        part of the settlement in Robertson v. NBA in 1976, the owners were successful in

        implementing both compensation for players lost to free agency and the right of first

        refusal.155 While compensation for players lost to free agency ended in 1981, the right of

        first refusal persists today for the category of restricted free agents. The right of first refusal

        deters salary growth because the owners realize that the chances of bidding for a restricted




        154
           Another example is that NFL teams today can designate a “franchise player,” enabling them
        to keep one key player as long as they pay that player at the average (or above) of the top five
        players at his position in the league. There are also transition players for which the team owner
        has a right of first refusal. Of course, each of these restrictions was collectively bargained with
        the NFLPA and, hence, is protected under the non-statutory labor exemption from the antitrust
        laws.
        155
              Bartok at 515.

                                                                                                               44




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        free agent leading to actually signing that free agent are low.156 However, one of the

        principal impacts of bidding is to raise player salary. If owner A bids for owner B’s player,

        then owner B is likely to return the favor and bid for a player from owner A’s team. The net

        effect of this bidding is not to reallocate talent across the teams, but to raise the players’

        salaries. Consequently, owners tend to shy away from bidding for restricted free agents.

                74.     Another important restriction on the players’ market imposed by the sports

        leagues in some form is a team salary cap. In each of the leagues except MLB, collective

        bargaining has resulted in an agreement to superimpose a salary cap on top of free agency,

        calculated as a percentage of defined league revenues. These salary caps were negotiated by

        the players’ unions in the context of robust intra-league competition among teams, and

        provide players with close to 50 percent of league-wide revenue including very strong health

        and retirement benefits.

                75.     While it is not clear that these restrictions would survive antitrust review if

        they were imposed unilaterally by the team owners, players in the major U.S. team sports

        bargain away the right to unrestricted free agency in exchange for preserving the basic

        process that allows teams to compete against each other for player services or for other

        benefits, such as increased pensions or better health care.157 The leagues have attempted to

        justify such limits on free and open competition on the grounds that they are necessary in

        order for a league of competing teams to function. The nature of a league is that the teams


        156
          Note however, that player’s compensation in the NBA is still much higher than that in the
        UFC, as described in Section V. C infra.
        157
           Because of the non-statutory labor exemption to the antitrust laws, many of these restrictions
        are immune from antitrust review since they were bargained for collectively.

                                                                                                          45




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        create a joint product as a result of teams competing against each other on the field. If the

        teams cannot maintain competitive balance, the appeal of the joint product may suffer.

               76.     Team owners’ justifications for the reserve clause based on maintaining

        competitive balance are unsubstantiated. However, even if the evidence supported such a

        competitive balance justification for more limited restrictions on free agency in the league

        sports, such a justification could not apply to MMA, because there is no equivalent joint

        product. On the contrary, because Zuffa refused even to co-promote events with other

        MMA promotions, there cannot be a competitive balance justification for imposing

        restrictions on free agency.158

               77.     Furthermore, many of the restrictions on free agency used by the leagues are

        in fact less restrictive than those used by the UFC, which faces no countervailing seller

        power from a players’ union. For example, Zuffa’s right-to-match clause in its standard

        fighter contract is much more restrictive than the right of first refusal used in the NBA, the

        NFL or the NHL. First, I understand that Zuffa’s right to match is typically preceded by a

        thirty- to ninety-day exclusive negotiation period during which the fighter cannot even

        solicit competing offers.159 After that period is over, Zuffa has a one-year period during

        which Zuffa has the option to match any offer received by the Fighter from another

        promoter. If the fighter receives such an offer, the fighter must “deliver to ZUFFA a written


        158
           Deposition of Dana White, Aug. 9, 2017 (hereinafter “White Dep.”) at 154:5-8 (“No. We
        never co-promoted...”). For instance, the UFC has refused to co-promote fights with Bellator.
        According to Joe Silva, “it’s a risk for both sides.” Silva Dep. at 215:11-216:18.
        159
           See, e.g., ZFL-1382453 at 80 (“Zuffa has a 60-day exclusive negotiating period after
        expiration of the fighter agreement and thereafter a one-year right to match any third party
        offers.”).

                                                                                                         46




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        notice of all material terms and conditions of the Offer, including but not limited to the

        identity of the promotional entity.”160 After that, Zuffa has fifteen business days in which to

        match the offer.161 As discussed above, the NBA also has a right to match in its CBA. In the

        current CBA, if a restricted free agent player receives an offer from a new team, the original

        team has three days to match the offer. However, even the three days was deemed to be too

        long and in the new CBA, which takes effect during the 2017-18 season, the right-to-match

        period was reduced to two days.162 In addition, in the NBA, the right to match does not

        apply to veteran players, unlike Zuffa’s contracts which apply the right to match to virtually

        every fighter. In the NFL the right to match clause must be exercised within five days by

        the original team and in the NHL it must be exercised within seven days. As a result,

        Zuffa’s right to match clause creates a substantially stronger disincentive for a competing

        team/promoter to bid on an athlete whose contract is up for renewal. Further, it warrants

        emphasis that the right to match in the NBA, NFL and NHL applies to a restricted subset of

        free agents.

                    78.   In addition, Zuffa’s right to match is just one of several lines of defense that

        prevent fighters from moving to other promoters. As I outline elsewhere, see Section III.

        (above), Zuffa made it a practice to prevent fighters from even getting to the right-to-match

        period by incentivizing and pressuring fighters to sign new contracts before their last fights


        160
              See, e.g., ZFL-0506593.
        161
              Id.
        162
           Collective Bargaining Agreement between the National Basketball Association and the
        National Basketball Players Association, Jan. 19, 2017, available at
        http://3c90sm37lsaecdwtr32v9qof.wpengine.netdna-cdn.com/wp-content/uploads/2016/02/2017-
        NBA-NBPA-Collective-Bargaining-Agreement.pdf.

                                                                                                             47




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        and by using a variety of tolling provisions and other conduct (e.g., exclusive sponsorships

        causing fighters to lose sponsors if they move to another promotion). These provisions and

        practices, combined with the Champion’s Clause, gave fighters – and especially title

        challengers – overriding incentives to re-sign long-term before the championship bout

        because if they won, their contract would be automatically renewed anyway.

        C.     The Effects of Intra-League Competition on Popularity and Profitability

               79.     Prior to free agency, owners in each of the major team sports argued in the

        courts, before Congress, and to the media, that the introduction of free agency would sound

        the death knell to their sport. They claimed that competitive balance among the teams

        would be destroyed as rich clubs would be able to accumulate all the best players and that

        profits were either non-existent or exiguous, so the players were not being exploited under

        the reserve clause system. If salaries went any higher, they claimed, the teams and leagues

        would go bankrupt. At a press conference in 1967, Paul Richards, the general manager of

        the Atlanta Braves, referring to the advent of collective bargaining (and the resulting threat

        to the reserve system) in baseball declared: “This will be end of baseball, as we knew it.”163

        The owners said similar things so many times over the airwaves that it practically became

        conventional wisdom. In 1970, an editorial on a New York City radio station typified this

        viewpoint: “Professional sports is facing a challenge that threatens its existence…. Under

        the existing system, a baseball player must perform for the club that owns him if he plays at

        all … professional sports cannot work without it [the reserve system] or something like it….



        163
           Quoted in Charles Korr, The End of Baseball as We Knew It. Urban, Ill: University of Illinois
        Press, (2002) at 1.

                                                                                                         48




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        Any player not in favor of the ground rules has no business entering the game.”164 And

        during Curt Flood’s challenge to baseball’s reserve clause, Joe Cronin and Chub Feeney, the

        presidents of the American and National Leagues respectively, asserted that baseball without

        the reserve clause was an impossibility: “No intelligent person would continue to invest the

        large capital required … mutually advantageous trades would become impossible if the

        players’ consents were required …[and] the wealthier clubs could sign an unbeatable team

        of all-stars, totally destroying league competition.”165

                  80.       Post-1976 experience in each of the leagues has shown the owners’

        apocalyptic views to be wrong. As salaries rose, and rose rapidly, owners began to treat

        their clubs as true businesses, engaging in advertising, marketing, planning, improved

        community relations, facility upgrades, strategic pricing policies, rationalized scouting and

        player evaluation, and so on. Rising salaries also motivated players to devote more time to

        rigorous fitness and training, as well as to exert themselves more fully in competition. The

        more dynamic players’ market, with players switching teams more readily, created a larger

        terrain for strategic decision-making for teams’ front offices and engendered greater intrigue

        for the general public. The game became more interesting to the fans. The result was

        rapidly growing revenue, more profitability, escalating franchise values, and, in most cases,

        more competitive balance.

        164
              Id. at 4-5.
        165
           Id. at 90. Two team owners, Francis Dale of the Cincinnati Reds and John McHale of the
        former Montreal Expos, testified at the Flood trial that they would not have invested in Major
        League Baseball had it not been for the reserve clause and antitrust exemption. See, for one,
        “Owners Say Reserve Clause Reason They Invested in Baseball,” Chicago Tribune, June 4, 1970
        available at http://archives.chicagotribune.com/1970/06/04/page/98/article/owners-say-reserve-
        clause-reason-they-invested-in-baseball.

                                                                                                         49




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                 81.   Consider first the evidence on competitive balance. Although there are many

        possible metrics to track competitive balance, the one most commonly used is the so-called

        Noll-Scully index. This index is given by the standard deviation of team win percentages

        within a league during a particular year divided by the idealized standard deviation of win

        percentages if the league were perfectly balanced, i.e., each team had the identical level of

        player talent. Because leagues that play more games (e.g., baseball with 162 regular season

        games versus football with 16) will be less subject to random fluctuation in win percentages

        and, hence, have a lower standard deviation, other things equal, it is necessary to adjust for

        the effect of randomness in outcomes when comparing competitive balance across leagues

        or within a league over time, as the league grows in size. Error! Reference source not

        found.Error! Reference source not found. below depicts the evolution of the Noll-Scully

        index in various leagues over time. The lower the index, the more balance there is across the

        teams.




                                                                                                         50




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                                Table 1: Evolution of Competitive Balance


                             Decade        MLB        NBA       NFL      NHL

                            1960-1969       2.10      2.90      1.68      2.00

                            1970-1979       1.90      2.39      1.62      2.64

                            1980-1989       1.72      2.72      1.52      2.02

                            1990-1999       1.74      3.08      1.51      1.83

                            2000-2015       1.82      2.75      1.56      1.68




               82.    Free agency came to MLB in the late 1970s, to the NBA substantially in the

        early-1980s, to the NFL and the NHL in the early 1990s. MLB’s index dropped steadily from

        the 1960s to the 1970s to the 1980s, as free agency was introduced. Other factors have since

        intervened to stabilize the index. The NBA index has gone back and forth with no apparent

        effect of free agency on competitive balance. Keep in mind that the NBA was the first league

        to introduce a salary cap (in 1983-84) and that two or three dominant players can have an

        enormous impact on a basketball game’s outcome. In any event, there is no clear evidence

        that free agency and competitive labor markets have hurt the NBA’s competitive balance.

        The index for the NFL has remained low and stable throughout the period and, again, there is

        no evidence that more open labor markets have hurt balance in the league. The NHL’s free

        agency was introduced in steps, with most advances coming in the 1990s, a decade when

        competitive balance increased, as it continued to do in the 21st century. Any team owner

        predictions of competitive balance perdition from free agency have not come to pass.

                                                                                                       51




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                  83.    Similarly, the advent of more open labor markets has not had a deleterious

        effect on team or league revenues or profits. On the contrary, revenue, profits and franchise

        values have all skyrocketed since the advent of free agency in each sport. Free agency did

        bring higher player costs, but it also brought increased urgency to identify and implement

        the most efficient and successful management practices. Equally important, increased

        player mobility sparked more intrigue and interest from the public, as offseason hot stove

        leagues generated speculation and intense discussion among fans. Seasonal sports leagues

        increasingly began to garner media attention the year round. Viewed statically, higher costs

        would lead to diminished profitability or loss. Viewed dynamically, revenue growth

        outpaced cost increases and industry performance metrics in each of the team sports

        improved.

                  84.    Of course, over time many things changed in the sports industry, and all of

        the growth cannot be attributed to the competitive pressures brought about by more open

        labor markets. Yet, the performance improvements in each of the sports were noticeable

        soon after the introduction of free agency. Consider the early changes in baseball. Total

        baseball attendance stagnated from 1970 at 28.8 million to 29.8 million in 1975, the year

        before the arbitrator’s decision in Messersmith and McNally, but then jumped to 38.7

        million in 1977, the year free agency took hold, and continued to grow handsomely,

        reaching 55.2 million in 1989.166 Meanwhile, team revenues went through the roof, rising

        from $5.7 million in 1970, to $9.0 million in 1977, $20.1 million in 1983 and $47.7 million




        166
              Official Baseball Guide, various years.

                                                                                                        52




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        in 1989.167 Reported operating profits grew from $3.6 million in 1976, to $6.1 million in

        1977, $10.4 million in 1978 and to $214.5 million in 1989.168 All this, after dozens of

        proclamations over the decades that free agency would kill the sport.

        D.        The Conditions and Effects of Inter-League Competition

                  85.       As demonstrated above, whenever there have been two elite leagues in each

        of the established sports, the resulting inter-league competition has led to increases in athlete

        compensation despite the existence of an intra-league reserve system. Moreover,

        competition between leagues has been good for fans as well as for players. Indeed, charting

        the history of the major sports indicates that competition between leagues has led to

        expanded output. For example, the risk created by the potential creation of the Continental

        Baseball League in the 1950s led to the first expansion of the number of baseball franchises

        in MLB in the twentieth century.169 Similarly, the threat created by the AFL in the 1960s

        led the NFL to expand into Dallas and Minneapolis-St. Paul. Over the years, more than half

        of the NFL’s 32 franchises were added as a result of competition from rival football leagues

        and subsequent mergers that ended that competition.170

                  86.       For a rival league to succeed, among other things, it must be able to pay

        enough to attract star talent. In order to afford that compensation, it must be able to attract

        networks, advertisers, merchandizers and fans. But this creates a catch-22, because a rival

        league cannot attract networks, advertisers, merchandizers and fans if it does not have any

        167
              Zimbalist, Baseball and Billions at 58.
        168
              Id. at 64-65.
        169
              Weiler at 325.
        170
              Id. at 326.

                                                                                                            53




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        star players.171

                  87.      In contrast, the brief experiences of the major league team sports with inter-

        league competition indicates that it had a positive effect on both the players and the fans,

        leading to higher compensation, new franchises, and expanded output.

                  88.      In order to compare the effects of Zuffa’s conduct to the demonstrated effects

        of the reserve system in the team sports, it is essential to consider the structural difference

        between the competition that exists within a league and the competitive landscape faced by

        Zuffa, which has no intra-league competition for fighters. The above history indicates that

        in the absence of vigorous inter-league competition for athletes, the opportunity for robust

        intra-league competition always existed, limited only by contractual restraints such as the

        reserve system. That is, whenever a player was allowed to become a true free agent in one

        of the professional sports leagues, there was a robust market available to bid on that player’s

        services and reveal the player’s true incremental value to the team that needed that player

        the most. In contrast, in order for Zuffa’s challenged conduct to suppress fighter

        compensation, it needed only to prevent potential rival MMA promoters from gaining a

        “foothold,” leaving little incentive for fighters to endure the hardship of reaching free

        agency in the first place.172

        E.        History of Restrictive Contracts in Boxing



        171
           In MMA, over the course of the last two decades, several potential rivals began to put
        pressure on the UFC. The UFC responded either by buying them out or by ratcheting up the
        restrictive terms in their fighter contracts and/or intensifying the enforcement of these contracts,
        so as to prevent these potential rivals from gaining access to top Professional MMA fighters.
        172
              See supra Section III.

                                                                                                            54




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                  89.     Boxing as a sport is athletically more similar to MMA than the sports

        previously discussed, and the business of boxing also operates more similarly. Boxing

        events are organized by promoters who set up professional boxing contests pitting two

        individuals against each other in hand-to-hand combat, governed by a set of rules

        established by state athletic commissions. As with Professional MMA Fighters, typical

        boxers’ careers are relatively short, and they face enormous risks each time they enter the

        ring.173 Promoters compensate boxers with “purses” in exchange for appearing in bouts.174

        Promoters are also responsible for arranging the details required to put on the event, dealing

        with the venues, sponsors, and television networks. Boxers are often represented by

        managers who act as an agent or representative of the boxer, and who negotiate with

        promoters on behalf of the boxer.175 Managers are typically compensated by a percentage of

        the athlete’s purse.176 As with MMA, boxers are separated into weight classes, and then

        compete with each other to become the champion of their weight class.177 In boxing there

        are seventeen different weight classes.178 However, as discussed further below, unlike in

        boxing, titles in MMA are promotion specific.




        173
          Golden Boy Promotions LLC v. Haymon, No. 15-cv-3378-JFW (MRWx), 2017 U.S. Dist.
        LEXIS 29782, at *6 (C.D. Cal. Jan. 26, 2017).
        174
              Deposition of Leon Margules, July 11, 2017 (hereinafter “Margules Dep.”) at 105:16-21.
        175
              15 U.S.C.S. § 6301.
        176
              Margules Dep. at 82:21-24.
        177
              Id. at 83:7-11.
        178
           For example, Section 3 of the WBO regulations lays out the seventeen different weight
        categories. “Regulations of World Championship Contests,” World Boxing Organization, Aug.
        28, 2013, available at http://www.wboboxing.com/regulations/.

                                                                                                         55




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                  90.     Boxing contests are also staged as part of a series of matchups, known as a

        boxing card.179 Each boxing card includes a main event, which carries the main box-office

        appeal.180 Boxers generally seek to be recognized as the champion in their weight class, and

        such recognition allows the boxer to reap substantial financial rewards because of their

        public notoriety.181 Also as with MMA, Leon Margules, the President of Warriors Boxing, a

        boxing promoter, testified that “boxing is a star driven sport so sometimes the biggest

        promoters tend to be the ones that currently have the stars.”182

                  91.     Despite these athletic and business similarities, the current market structure

        of boxing is quite dissimilar from MMA. Unlike MMA, boxing today has multiple

        prominent promoters who compete with each other to sign the best boxers, including title-

        holding championship boxers and contenders for titles, and who can promote PPV matches

        that attract large audiences. There are at least five different boxing promoters who are

        prominent enough to promote major championship fights each year, and probably more than

        ten.183 These include at least Top Rank, Golden Boy, DiBella Entertainment, Warriors

        Boxing, Main Events, TGB Promotions, Star Boxing, Banner Promotions, and Artie



        179
              Margules Dep. at 90:3-9.
        180
              Id. at 91:8-22.
        181
          Id. at 105:4-15 (a boxing prospect’s goal is to “[b]ecome a world champion, to make as much
        money as they can…. Become a world champion, make himself a marketable product that people
        want to … pay to see”).
        182
           Id. at 19:3-7. Margules also testified that championships are not the only arbiter of fame.
        Rather, what makes a boxer a star is “his ability to create revenue.” The factors that drive the
        ability to create revenue are “his ability to sell tickets, create television contracts … what would
        make any athlete a star.” Id. at 19:11-17.
        183
              Id. at 23:9-23.

                                                                                                           56




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        Pelullo.184 There are at least twenty boxing promoters in the U.S. today who have promoted

        nationally televised events, and of those, more than five have promoted at least one Pay-Per-

        View event.185 These promoters compete with each other to sign boxing talent.186 As one

        court observed “[u]nlike other sports, such as football, baseball, and golf, boxing has not

        naturally evolved towards having a single entity controlling most or all of the professionally

        televised events in the sport.”187

                  92.     Another key difference between boxing and MMA is that boxing has

        sanctioning bodies that operate independently from promoters.188 There are four major

        sanctioning bodies in boxing, the World Boxing Association (“WBA”), World Boxing

        Council (“WBC”), International Boxing Federation (“IBF”), and World Boxing

        Organization (“WBO”).189 Each sanctioning body has its own titles for each weight class,

        ranks the top boxers in each weight class,190 and establishes rules governing the awarding,

        maintaining, and contesting of championship titles. For example, the sanctioning bodies




        184
              Id. at 16:11-18; 21:20-22:19.
        185
           Id. at 102:16-104:10. This is the case even though “[t]here are very few fighters that can put
        on successful Pay-Per-View events. So obviously it would be very important to have one of
        them.” Id. at 114:13-21.
        186
              Id. at 100:6-10.
        187
              Golden Boy Promotions, 2017 U.S. Dist. LEXIS 29782, at *37.
        188
           Margules Dep. at 99:6-14 (“There’s been corruption, like everything else” but sanctioning
        bodies are “supposed to be” independent from promoters and managers.).
        189
              Id. at 95:11-19.
        190
          See “Boxing Rankings,” Fightnews.com, available at http://www.fightnews.com/rankings-2;
        Margules Dep. at 95:20-25.

                                                                                                         57




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        have established rules requiring the champion to defend their title periodically to avoid

        being stripped of it.191

                  93.    Because of the rules created by sanctioning bodies, promoters who have

        contracts with different boxers often co-promote fights with each other. For example,

        sanctioning bodies designate boxers who are the top contenders in a weight division as

        “mandatory challengers.”192 Mandatory challengers are supposed to be assured of having a

        bout against the champion of their division within a specific period of time, regardless of

        whether the champion and mandatory challenger share the same promotion company.193

        This forces promoters to agree to co-promote fights or to agree to “lease” a fighter they have

        under exclusive contract to another promoter in exchange for a payment under a provision of

        service (POS) agreement, at risk of their champion being stripped of their championship

        belt.194 Such co-promotion or POS agreements increase competition for championship-

        caliber boxer talent,195 and mean that a successful boxer who is able to become a mandatory


        191
           Section 5 of the WBO Regulations of World Championship Contests (hereinafter “WBO
        Regulations”) requires that “Each WBO World Champion except in the Heavyweight Division
        shall defend his title at intervals not greater than nine (9) months counting from the date of the
        acquisition thereof or from the last compulsory defense, as the case may be, in a twelve (12)
        round fight, against the Mandatory Challenger, as determined by the Championship Committee
        according to these Regulations, unless an exception is made pursuant to these Regulations.”
        http://www.wboboxing.com/regulations/.
        192
              Margules Dep. at 84:22-85:16.
        193
            Muhammad Ali Boxing Reform Act, Report of the Committee on Commerce, Science, and
        Transportation, U.S. Senate, 106th Cong. 1st Sess. (Jun. 21, 1999) (hereinafter “Senate Report”)
        at 9; WBO Regulations § 6.
        194
              Margules Dep. at 85:17-86:13.
        195
           As Margules explained, boxers ranked in the top fifteen by one of the major sanctioning
        organizations are mandatory challengers for the title, and thus by definition championship
        caliber. Id. (“Only … if they are ranked in the top 15 will they qualify.”).

                                                                                                         58




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        challenger can be guaranteed a chance to fight for the title without having to sign with the

        promoter of the current champion. In contrast, in the UFC if a fighter wants a shot at

        fighting the current champion of a weight class, or even a shot at fighting any top-ranked

        fighter at all, that fighter needs to sign an exclusive deal with UFC, and then it would be up

        to the UFC to decide unilaterally whether, and when, to give that fighter that opportunity.196

                  94.     For championship belt fights co-promoted under a given sanctioning body,

        promoters and managers usually negotiate how much each side will receive from the fight.

        However, when the two sides cannot agree, the sanctioning organization often mandates a

        “purse bid” which allows any registered promoter to submit a bid for how much they are

        willing to pay the boxers.197 The promoter with the highest bid then gets to promote the

        fight, even if that promoter does not have a prior contractual relationship with either of the

        contestants.198

                  95.     A recent purse bid for a fight between heavyweight champion Wladimir

        Klitschko and secondary titlist Alexander Povetkin indicates how the competition generated

        by this bidding process can dramatically increase boxer compensation. After representatives

        for each boxer reached an impasse in negotiations over a fight scheduled to take place in

        August 2013, the WBA ordered a purse bid. Klitschko’s promoter, K2 Promotions, bid

        $7.13 million, and Povetkin’s promoter, Sauerland Event, bid $6,014,444. However, the

        contest was won by a third Russian promoter, Vladimir Hryunov who bid $23,333,330,

        196
           Hendrick 30(b)(6) Dep. at 68:17-69:15 (“Q. Are you aware, on behalf of Zuffa, of any fighter
        that has fought for Zuffa that did not sign an exclusive promotional and ancillary rights
        agreement? A. I’m not.”).
        197
              WBO Regulations § 11; Margules Dep. at 86:14-87:11.
        198
              Margules Dep. at 87:20-88:8.

                                                                                                         59




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        dramatically increasing the amount of the purse to be split between Klitschko and

        Povetkin.199 As a matter of normal market behavior, I would expect such increases in

        compensation for the most highly compensated boxers to lead to increased compensation for

        other boxers as well.200

                  96.    Because independent sanctioning bodies, rather than promoters, decide who

        has a right to be a contender for a championship bout, boxing promoters have less leverage

        than Zuffa has to coerce athletes into signing long-term exclusionary contracts in exchange

        for a shot at a title fight. This reduced structural leverage, in combination with a less

        concentrated market for boxing promotion, leads to more competition for boxer talent than

        exists in MMA, where the UFC also effectively acts as the sanctioning organization by

        awarding its own belts.

                  97.    However, as with the team sports described above, boxing promoters had a

        long history of using exclusive, long-term promotional contracts,201 which practices have

        over time been eliminated or reduced. Just like the club owners in the team sports used the

        reserve clause to control athletes, historically, boxing promoters “have utilized contracts

        with vague or unspecified terms regarding how long the contract will be in effect, thereby




        199
           Dan Rafael, “Klitschko camp ‘surprised’ by $23m purse bid,” ESPN UK, Apr. 25, 2013,
        available at http://en.espn.co.uk/boxing/sport/story/204099.html.
        200
            See Margules Dep. at 121:2-11 (“Q. When boxers are negotiating with promoters over the
        size of their purse… [d]oes the amount that other public purse amounts that people know about
        in the industry affect those negotiations? A. Sure. Why wouldn’t they?”).
        201
              Senate Report at 8.

                                                                                                      60




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        permitting the promoter to control the boxer for virtually the boxer’s entire productive

        career.”202

                  98.     For example, in the 1950s the U.S. Department of Justice brought an anti-

        trust suit, United States v. Int’l Boxing Club of NY, Inc., against two boxing promoters,

        James Norris and Arthur Wirtz, who had implemented a conspiracy to monopolize top-level

        prize fighting in 1949. Their scheme enabled them to gain almost complete control over the

        promotion of championship boxing matches, by among other strategies: (1) acquiring rival

        promoters; (2) signing the four championship-contender boxers to two-year exclusive

        contracts, with options to renew for additional two-year terms; and (3) requiring contenders

        for a title, as a condition of being afforded an opportunity to engage in a championship

        contest, to enter into “contingent” exclusive contracts pursuant to which the contender, if he

        won the contest and thereby became champion, was required to engage in title bouts

        exclusively under the promotion of defendants for a period of from three to five years.203 In

        1949, even when Norris and Wirtz implemented their plan to monopolize championship

        boxing, their contracts with the four title contenders guaranteed compensation to the fighters

        of not less than 25% of gate receipts and broadcast licensing revenue.204



        202
              Senate Report at 8.
        203
           United States v. Int’l Boxing Club, Inc., 150 F. Supp. 397, 400, 412, 417-418 (S.D.N.Y.
        1957). There are parallels between these exclusionary provisions and Zuffa’s fighter contracts, in
        particular, the “champion’s clause.” The goal of each is to ensure that the most valuable fighters
        cannot become free agents and fight for rival promoters when they are at their peak level of
        productivity. These similarities are not surprising given that Zuffa’s witness explained that
        provisions of Zuffa’s contracts were based on those that were used in boxing. Kirk Hendrick
        Rule 30(b)(6) Tr. (hereinafter “Hendrick Tr.”), V.I. at 72-73.
        204
              Int’l Boxing Club, Inc., 150 F. Supp. at 412.

                                                                                                         61




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               99.     After determining in 1955 that boxing was not exempt from the nation’s

        antitrust laws, the courts in 1957 issued a final judgment in favor of the government,

        compelling a breakup of the Norris and Wirtz company and requiring a five-year

        moratorium on exclusive fighter contracts for both champion and non-champion boxers.205

        The fact that boxing’s popularity continued to increase during that five-year period indicates

        that such exclusive contracts were not necessary for the industry’s success.206 In 1956, just

        before the courts enjoined exclusive contracting practices, gross boxing receipts as measured

        by the Bureau of the Census were $4.4 million.207 By 1960, gross receipts had increased to

        $5.9 million, and by 1963, they had increased to $7.8 million. In order to demonstrate this

        increase was not the result of random variation in a given year, I can compare the average

        gross receipts for the five-year period before and after the moratorium went into effect. The

        average annual gross receipts during the five years from 1952-1956 (inclusive) before the

        moratorium went into effect was $4.6 million per year. The average annual gross receipts


        205
           See United States v. Int’l Boxing Club of N.Y., Inc., 171 F. Supp. 841, 842 (S.D.N.Y. 1957)
        (“4. The defendants, and each of them, are restrained and enjoined from entering into, directly or
        indirectly, any contract, agreement, or understanding, which provides, in terms or in effect, that a
        boxer shall not engage in a professional boxing contest for any person other than the defendants,
        or any of them. Provided, however, that nothing in this Section Four (4) shall be construed to
        prevent the defendants, or any of them, from entering into a contract with a professional boxer
        providing for the promotion of a single professional boxing contest.”); Int’l Boxing Club of N. Y.,
        Inc. v. United States, 358 U.S. 242 (1959).
        206
           Indeed, the use of such contracts had waned even before the Supreme Court issued its opinion
        in 1959. Int’l Boxing Club of N.Y., 358 U.S. at 254 (“At the time of the final decree [in 1957] the
        Joe Louis agreements had elapsed; the exclusive-contract practice had been at least temporarily
        abandoned….”).
        207
           Bureau of the Census. “Participation in Selected Recreational Activities: 1896 to 1970”,
        Bicentennial Edition: Historical Statistics of the United States, Colonial Times to 1970, Part 1,
        U.S. Department of Commerce, available at https://www.census.gov/history/pdf/1914-
        1948baseballattendance.pdf.

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        as world champion, “to cover the entire period Douglas is world champion and a period of

        two years following” loss of the title.209 It also once again became common practice in the

        boxing industry for a promoter who had successful boxers under contract to require that any

        challenger who sought to fight one of these boxers to sign a long-term agreement with the

        promoter similar to the contracts at issue in International Boxing Club.210 Such contracts are

        often referred to as “conditional option contracts.”211

                    101.   There have been several attempts by state regulators to curb the some of

        these abuses. For example, for a period of time covering at least the 1990s, the Nevada State

        Athletic Commission had implemented a rule forbidding exclusive boxing contracts.212

        However, the ease with which boxing promoters could evade state regulation by relocating

        boxing matches to states without such regulation led to repeated calls for uniform federal

        regulation. Despite numerous attempts, such regulation of exclusionary boxing contracts did

        not succeed on the federal level until the Muhammad Ali Boxing Reform Act (the “Ali

        Act”) was enacted in 2000.




        209
            Douglas went on to defeat the defending heavyweight champion Mike Tyson in 1990, leading
        to litigation over his contract. Don King Prods., Inc. v. Douglas, 742 F. Supp. 741, 748
        (S.D.N.Y. 1990).
        210
          Senator John McCain and Ken Nahigian, “Symposium Sports and the Law: A Fighting
        Chance for Professional Boxing,” 15 Stan. L. & Pol’y Rev. 7, 20 (2004).
        211
              Id.
        212
           Don King Prods., Inc., 742 F. Supp. at 748, 759 (referencing Section 467.112(3) of the
        Nevada State Athletic Commission's Rules and Regulations); Statement of Patrick English,
        Hearing Before the Committee on Commerce, Science, and Transportation, U.S. Senate, 105th
        Cong. 2nd Sess. (Mar. 24, 1998) (Business Practices in the Processional Boxing Industry) at 23
        (“Nevada’s regulations would appear to state that multibout contracts are forbidden”).

                                                                                                         64




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                    102.   Among other things, the Ali Act is aimed at protecting boxers from

        “coercive” contract provisions, which are defined to include “a contract provision that grants

        any rights between a boxer and a promoter … if the boxer is required to grant such rights …

        as a condition precedent to the boxer’s participation in a professional boxing match against

        another boxer who is under contract to the promoter.”213 Under the Ali Act, such coercive

        provisions “shall be considered to be in restraint of trade, contrary to public policy, and

        unenforceable against any boxer” to the extent it is “for a period greater than 12 months.”214

                    103.   While commentators suggest that the Ali Act has led to limited reforms in

        actual industry practice due to weak enforcement mechanisms,215 the presence of multiple

        top-level promoters and the mandatory challenger and purse bid rules have allowed

        champion-caliber boxers to participate in the top level of competition in the sport without

        being coerced into exclusive contracts, and to experience real free agency in the market for

        their services.216 The result is that boxers commonly have received 60% or more of the


        213
           Muhammad Ali Boxing Reform Act, 2000 Enacted H.R. 1832, 106 Enacted H.R. 1832, 114
        Stat. 321, § 10(a)(1)(B).
        214
              Id.
        215
           McCain and Nahigian at 22 (“Overall, federal, state, and tribal enforcement of the PBSA and
        the Ali Act remain woefully inadequate.”).
        216
            For example, the testimony of Patrick C. English, Counsel for boxing promoter, Main Events
        explains: “it is the major ratings organizations which have promulgated the most important
        single rule in boxing. That rule, uniform among the three major organizations, is the rule which
        requires that a champion engage in mandatory bouts against the leading available contenders at
        defined periods. It is this rule which can prevent champions (and their promoters) from avoiding
        worthy contenders in favor of fighting a series of “bums.” It is this rule, along with a corollary
        ‘purse bid’ rule, which allows worthy contenders the opportunity to fight for the title without
        signing away future rights. I represented Evander Holyfield in court when he successfully
        enforced his right, as mandatory contender, to fight James ‘Buster’ Douglas which resulted in his
        first reign as undisputed champion. I represented Pernell Whitaker in litigation where he
        enforced his right to fight for his first title as the leading contender. I represented Lennox Lewis

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        revenue generated by their fights in recent years.217 At the same time, according to Nielsen,

        between 2010 and 2015 the amount of televised boxing output has expanded significantly,

        from 30,379 minutes of programming to 70,470 minutes of programming.218


                                           V. ESTIMATION OF DAMAGES

                  104.    One way to assess the damages caused by the challenged conduct is to

        identify a benchmark for what fighter compensation would have been in a but-for world

        where the challenged conduct did not exist. In this section, I evaluate the appropriateness

        of a variety of other sports as competitive benchmarks and calculate damages to the Bout

        class in the aggregate by using the selected sports as benchmarks of the level of fighter

        compensation that would have prevailed in the but-for world.

                  105.    My basic methodology is as follows. For each sport that I use as a

        benchmark, I apply the athlete compensation share of revenue to the reported Zuffa bout

        revenues to arrive at what Zuffa’s fighters would have been paid if they received the same

        share as the athletes in these other sports where more competitive labor markets prevail. I

        then take the mean of these but-for compensation levels from the different sports and

        compare it to the total event-related fighter compensation paid out to Zuffa’s athletes. The

        difference is the basis for my estimate of the total amount members of the bout class were

        underpaid due to the challenged conduct.

        when he enforced his right to fight for the title as the mandatory contender. All managed,
        through the mandatory process, not only to gain titles but to avoid entering into contracts
        resulting in unwanted promotional ties.” Business Practices in the Professional Boxing Industry,
        S. Hrg. 105-712, Mar, 24, 1998 (105th Cong.) at 30.
        217
              See infra, Section V. B.i.
        218
              DB-ZUFFA-0007187 at 216.

                                                                                                        66




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                 106.   The reason I compare the player compensation share rather than the actual

        pay levels is to control for the state of the industry and differences between the popularity

        and thus demand for each benchmark as compared to MMA. Obviously, if the popularity of

        a benchmark sport is much higher than MMA, one would expect the athletes to be better

        compensated for that reason, apart from any differences in the competitiveness in the labor

        market of the benchmark. However, because demand for a sport is reflected in the revenue

        generated, one would expect the ratio of athlete compensation to revenue to reflect instead

        the competitive characteristics of the sport, controlling for any differences in demand or

        popularity. As such, the proper comparison, which controls for the varying amounts of

        revenue earned by, e.g., boxing matches as compared to MMA matches, is the share of

        revenue that is paid to the fighters. Indeed, Zuffa itself regularly used fighter compensation

        as a percent of event revenue as a financial metric.219

        A.       Zuffa Benchmarks its Athlete Compensation to Other Sports.

                 107.   One piece of evidence demonstrating the appropriateness of benchmarking

        fighter compensation to athlete compensation in other sports is that Zuffa itself, and those

        acting on its behalf, have repeatedly done so. For example, in preparation for Lorenzo

        Fertitta’s interview with the New York Times, Zuffa prepared talking points comparing UFC

        fighter compensation to “Other League Payroll Comps” including MLS, NHL, NBA, and

        MLB.220 Similarly, Moody’s 2014 draft Credit Opinion for Zuffa indicates that “[v]ariable

        fighter costs help drive operating flexibility and support higher margins relative to most

        219
           See ZFL-2277058 at 69 (graphing “Fighter Compensation as % of Event Revenue” and
        “Fighter Compensation as % of Event EBITDA” for 2009 and 2010).
        220
              ZFL-1425511 at 16-17; ZFL-1070290 at 327.

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        major sports.”221 A text sent to John Mulkey on November 3, 2009 for approval for a prior

        Moody’s Credit Opinion states: “much of Zuffa’s credit strength is due to the variability of

        fighter costs, and those costs being lower as a percentage of revenues than the player costs in

        other long established major sports leagues (NFL, MLB, NBA, NHL, and Premier League).

        These costs, often fixed are the single most significant cost for other teams/leagues….”222

                 108.   In addition, in or around 2013, Zuffa commissioned a study by Mercer

        (which provides human resources consulting services, among others) to study fighter pay in

        the UFC. A March 2014 draft presentation makes clear that the methodology involved

        “defin[ing] a comparator group of sports organizations in order to provide an external basis

        for understand[ing] how UFC’s fighter pay structure and practices compares to similar

        companies.”223 Mercer’s proposed “Fighter Pay Assessment Methodology” included

        determining the “ratio of annual [athlete] earnings (and related expenses) relative to the

        annual revenue amounts provided by UFC and comparator organizations[.]”224 At the time,

        Mercer’s proposed comparator group included NASCAR, Professional Golfers’ Association

        (PGA), Professional Bull Riders (PBR), Major League Soccer (MLS), National Football

        League (NFL), National Basketball Association (NBA), Major League Baseball (MLB),

        National Hockey League (NHL), and the English Premier League (EPL).225 A later draft of


        221
              ZFL-1081154 at 54.
        222
              ZUF-00113209 at 11.
        223
              ZFL-0557588 at 91.
        224
           ZFL-0557588 at 95. The presentation also noted that “revenue figures will be calibrated
        across comparator groups to provide a consistent measure with UFC.” Id.
        225
           ZFL-0557588 at 92. The presentation also considered Boxing as a potential comparator but
        excluded it due to “limited financial data available.” Id. at 93.

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        the Mercer report from September 3, 2014 repeated the same approach and standards.226

        WME-IMG engaged in a similar benchmarking analysis comparing Zuffa’s fighter

        compensation as a share of revenue to a series of benchmark sports.227 These documents

        indicate that Zuffa and its consultants clearly saw other sports leagues to be relevant

        comparators for the purposes of evaluating the level and structure of UFC’s fighter

        compensation.

        B.        Evaluation of Potential Benchmarks for UFC Fighter Share of Revenue

                  109.   In this section I evaluate a number of competitive benchmarks to determine

        what characteristics make the player compensation share of revenues in those sports an

        aggressive or conservative estimate of but-for fighter compensation share in the UFC. I

        evaluate MLB, the NFL, the NBA, the NHL, Premier European Soccer Leagues, and Boxing

        as benchmarks.

                  i.       Boxing

                  110.   The similarity of the MMA industry to the boxing industry suggests that the

        labor market in boxing would be a reasonable benchmark.228 As discussed above, unlike

        MMA, boxing has multiple major promoters who compete with each other to sign the best

        prize fighters.229 It also has a separation of promoters from sanctioning bodies, which


        226
              ZFL-2700585, passim.
        227
              WME_Zuffa_00005368.
        228
           Indeed, Zuffa itself has used analogies to boxing in its negotiations with fighters. ZFL-
        0411039 at 45-46 (Jeremy Lappen Deposition, Feb. 28, 2017, Exh. 203) (“Continuing the boxing
        analogy, all the major sanctioning organizations’ championship rules contain provisions which
        permit the sanctioning bodies to order a rematch in situations where a decision was close and
        controversial or where the bout would be one of major importance in the boxing world.”).
        229
              See supra section IV. E.

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        bodies impose rules such as fights for mandatory challenges and purse bids to create

        competition for the right to promote championship matches. These circumstances are

        clearly more competitive than those in MMA, where I understand that Plaintiffs allege that

        the UFC is the dominant promoter of Professional MMA events, and where the UFC also

        effectively acts as the sanctioning organization by awarding its own belts. Further, the Ali

        Act, which applies to boxing but not to MMA, forbids many of the challenged contracting

        practices used by Zuffa. Other than having a more competitive market, boxing is otherwise

        structurally similar to MMA.

               111.    In connection with boxing promoter Golden Boy’s lawsuit against Al

        Haymon, data on Golden Boy’s total revenue and fighter expenses for 2014, 2015, and the

        first half of 2016 was released publicly. It is shown in Table 2. I use these numbers to

        calculate boxers’ share of revenue for 2014, 2015 and the first half of 2016. For prior years,

        I assume that the boxer share of revenue was the average of these two and a half years for

        which data is available, which comes to 62.2% on average.




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                                                        Table 2
                                         Golden Boy Revenues and Expenses
                                         (Deetz Report, 2014 – June 30, 2016)

                                                                         Income from Fighter
                             Total        Fighter      Other             Boxing        Share of
         Period              Revenue      Expenses     Expenses          Operations    Revenue
         2014                $140,448,787 $89,344,118 $42,274,826           $8,829,843   63.6%
         2015                 $46,323,840 $28,864,172 $12,768,480           $4,691,187   62.3%
         2016 (1st Half)      $32,604,518 $18,206,224 $11,597,665          $28,000,629   55.8%
         Total               $219,377,145 $136,414,514 $66,640,971         $41,521,659   62.2%


                112.       The reasonableness of using these numbers as a representation of boxing as a

        whole is indicated by other public evidence suggesting that other major boxing promoters

        pay, if anything, a higher share of their revenue to their fighters than does Golden Boy. In

        an interview with MaxBoxing.com, Bob Arum, the pre-eminent boxing promoter and

        founder and CEO of Top Rank, stated that “because of the monopoly the UFC has, they pay

        their fighters maybe 20-percent of the proceeds that come in on a UFC fight and we pay

        fighters over 80-percent.”230 Similarly, Lou DiBella, a New York-based boxing promoter

        who spent more than a decade as a programming executive running the boxing division of

        HBO Sports, told ESPN’s Outside the Lines in 2012 that some boxers received 85 percent of

        the event revenue from the promoter, and went on to say that a 70 percent share was




        230
            Jesse Holland, “Bob Arum fires back at Dana White: ‘UFC fighters get paid nothing’,” MMA
        Mania, Sept. 23, 2011, available at http://www.mmamania.com/2011/9/23/2444228/bob-arum-
        fires-back-at-dana-white-ufc-fighters-get-paid-nothing.

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        “completely common.”231 Income statements provided by boxing promoter Leon Margules

        from 2015 and 2016 show total revenue from those years at $31.387 million and total

        compensation to fighters at $20.524 million, which represents a 65.4 percent share to

        fighters.232 Compared to these estimates, the 62.2 percent fighter share of revenue from

        Golden Boy’s financial statements appears to represent a conservative estimate of the

        industry as a whole.

                 113.   Using boxing as a benchmark for the fighter share of revenue is also likely to

        be conservative because a boxing promoter is more likely to cover a boxer’s auxiliary costs,

        such as training, than is Zuffa and, thus, one would expect the athlete’s share in event

        revenue to be lower than in the UFC if the labor markets in top-level boxing and UFC were

        commensurately competitive.233

                 ii.     Professional Team Sports: NFL, MLB, NBA, NHL

                 114.   U.S. professional team sports have had competition among the teams for

        players since the introduction of free agency, and, hence, despite the existence of various

        labor market restraints discussed above, they provide a reasonable benchmark for athlete

        compensation under circumstances of more open competition. Indeed, to the extent that

        competition among teams for talent is constrained by restrictions on free agency (covered by

        231
           John Barr and Josh Gross, “UFC fighters say low pay simply brutal,” ESPN, Jan. 15, 2012,
        available at http://www.espn.com/espn/otl/story/_/page/UFCpay/ufc-fighters-say-low-pay-most-
        painful-hit-all.
        232
              Margules Dep. Exh. 3 (WAR-000009).
        233
            As discussed above, I am assuming that Plaintiffs will show that but for the challenged
        conduct, Zuffa would face additional competition for fighter talent on par with the levels of
        structural competition present in my respective selected benchmarks. Given my discussion
        above, and my understanding of the MMA industry (as well as the competitive environments of
        other sports) and Zuffa’s practices in particular, I believe this assumption to be reasonable.

                                                                                                         72




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        the non-statutory labor exemption since they are collectively bargained), that makes these

        sports conservative as benchmarks.234 Of course, the MLB, NHL, NFL and NBA have been

        around for several decades and are more developed than UFC, with much higher annual

        revenues. Thus, I am not comparing the absolute salaries of professional athletes in the U.S.

        team sports with those of fighters in the UFC. Comparing the share of revenue that is paid

        out in the team sports with that in the UFC removes the problem that may have been

        associated with using absolute salaries.

               115.    For each of the four leagues, I collected data on the player share of revenue

        from the collective bargaining agreements in each sport, publicly available sources, and

        conversations with league and union executives.235

               116.    Zuffa executives have acknowledged in the past the appropriateness of

        comparing the share of revenues going to athletes in the UFC with professional team sports.

        When asked what percentage of UFC’s revenue goes to its fighters during a 2012 interview

        on ESPN’s Outside the Lines, Zuffa LLC’s CEO and co-owner Lorenzo Fertitta stated: “not

        far off what the other sports leagues pay as a percentage of revenue.”236 When reminded


        234
            For example, as discussed above, the player share of revenue in the NFL, NHL and NBA all
        reflect the existence of built-in competitive restraints in the form of salary caps, luxury taxes,
        revenue sharing and debt rules. Were these markets subject to open and unconstrained
        competition, the player shares would be higher and, thus, the estimated damages would be
        higher.
        235
            The Statistics Portal, available at statista.com; data from NBA and NHL players’
        associations; http://stats.nhlnumbers.com/teams?year=; Forbes annual sport valuation issues;
        Spotrac.com; Rodney Fort’s Sports Economics, available at
        https://sites.google.com/site/rodswebpages/codes.
        236
           Barr and Gross, “UFC fighters say low pay simply brutal”. Echoing Fertitta’s boast, during a
        2016 interview Dana White was asked about the money-making opportunities for UFC fighters.
        He replied: “The opportunities today – are just like playing in the NFL, or playing in the NBA or

                                                                                                         73




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        that the player share in the NBA, NFL, NHL and MLB is around 50 percent, Fertitta replied:

        “[It’s] in that neighborhood, yeah.”237 As is clear from the analysis below, Fertitta’s

        comment is simply wrong.238

                  117.    In his March 23, 2017 deposition in this case, Lorenzo Fertitta appears to

        walk back his earlier claim that UFC fighters’ compensation as a share of revenue is

        comparable to that in the U.S. professional team sports. In his deposition, Mr. Fertitta

        offered an explanation of why the Zuffa share is lower: “it really is completely unfair for

        anybody to be comparing UFC’s financials to that of the NFL or Major League Baseball or

        the NBA. It really [is] not a comparison, and really, a more comparable sport league would

        have been something more like Major League Soccer …. [Regarding the NFL] this isn’t a

        very good comparison because the NFL generates roughly $12 or $13 billion a year, and at

        the time, we were probably generating $4-500 million a year.”239

                  118.    However, the fact that revenue varies between these leagues and the UFC

        does not undermine the validity of the comparison. First, as I explain above, by comparing

        athlete compensation as a share of league revenue, I am controlling for the fact that different



        Major League Baseball…. Trust me when I tell you, these guys are making a lot of money. We
        are on par with other sports leagues out there.” Anton Tabuena, “White defends UFC pay:
        Fighters make a lot of money, we’re on par with other sports,” Bloody Elbow, June 23, 2016,
        available at https://www.bloodyelbow.com/2016/6/23/12011036/white-defends-ufc-pay-fighters-
        make-a-lot-of-money-were-on-par-with.
        237
              Barr and Gross.
        238
           As the data in Tables 3 through 6 make clear, the share of fighter compensation in UFC
        revenue is nowhere near 50 percent; rather, depending on the year and the measurement
        employed, it varies between 14 percent and 18 percent. That is further corroborated by internal
        Zuffa analysis. See infra, n 242.
        239
              Fertitta Dep. at 199-200.

                                                                                                          74




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        leagues generate different revenues at different levels of maturity and popularity. Second, an

        evaluation of the relationship between league revenue and player share proves that there is

        no basis for the claim that leagues with less revenue pay a lower share of that revenue to

        their athletes.

                                                      Table 3
                                    NFL and MLB Player Shares in Revenue240
                          NFL Revenues                           MLB Revenues         MLB Player
               Year        (billions $)     NFL Player Share      (billions $)          Share
              1993-94         1.745              68.5%               1.209              62.7%
              1996-97         2.235              61.4%               2.067              58.7%
              1999-00         3.423              59.6%               3.329              56.5%
              2002-03         4.944              56.1%               3.728              63.1%
              2005-06         6.160              55.1%               5.206              50.6%


                 119.     Table 3 shows both the league revenues and player share for the NFL and

        MLB over a variety of years. Table 3 indicates that, if anything, there is an inverse

        relationship between league revenue and player compensation share of revenue. As NFL

        revenues grew between 1993-94 and 2005-06, the player share decreased steadily from 68.5

        percent to 55.1 percent, and this trend has continued with NFL revenues around $14 billion

        and the player share around 47 percent in 2016-17. The correlation coefficient between

        NFL revenues and player share over the interval in Table 3 is a statistically robust -.901,

        showing an inverse relationship. The pattern in baseball is very similar with a correlation

        coefficient of -.706, although the major league players’ share has steadied over the last

        decade as revenues have grown. While details for these years are not publicly available for

        240
            John Vrooman, “The Economic Structure of the NFL,” in K.G. Quinn (ed.), The Economics
        of the National Football League, Springer (2012) at 23. Andrew Zimbalist, “Reflections on
        Salary Shares and Salary Caps,” Journal of Sports Economics 11:1 (February 2010), at 22-24.

                                                                                                         75




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        the NBA, NBA player share in 2000-01 was 65 percent of Basketball Related Income, while

        it was approximately 51 percent in 2015-16. The pattern in all three leagues is exactly the

        opposite of that claimed by Mr. Fertitta. What this analysis indicates, in conjunction with

        the discussion above about the history of competition in professional team sports, is that the

        major determinant of how much of the revenue pie goes to athletes versus owners is not the

        absolute size of the sport, but rather the amount of competition among owners over the

        athletes’ services. The more that owners are able to limit competition—through contractual

        restrictions on free agency or by eliminating competition from competing leagues—the more

        athlete compensation can be suppressed.

               120.    The four major team sports leagues in the United States also provide a

        conservative benchmark because the owners of U.S. team sports incur many expenses that

        are not incurred by the owners of the UFC. In the UFC, each fighter is treated as an

        independent contractor. For example, the 2013 Promotion and Ancillary Rights Agreement

        of Ronda Rousey (one of the most popular UFC athletes) states: “It is intended that Fighter

        shall remain an independent contractor, responsible for his [sic] own actions, expenses and

        any local, state, federal or international taxes, including, but not limited to, the engagement,

        discharge, benefits and costs of all of Fighter’s Affiliates, and training facilities, equipment,

        professional memberships, sanctioning fees, medical expenses, social security taxes, Federal

        Insurance Contributions Act (FICA) taxes, and Federal Unemployment Tax Act (FUTA)

        taxes.” 241 In contrast, the four major team sports leagues treat their athletes as employees,

        paying for player training, and incurring higher costs for player transportation, lodging and
        241
           ZFL-0186162; Sean Shelby Deposition, Apr. 12, 2017, (hereinafter “Shelby Dep.”) at 130:20-
        24 (UFC generally does not pay for fighters’ training costs).

                                                                                                            76




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        meals, stadium operations and, sometimes, stadium construction and community relations.

        These substantial overhead costs would lead one to expect that, if anything, team sports

        would pay out a lower share of revenues in player compensation, all other things equal.

               iii.      European Soccer

                121.   European soccer provides a useful benchmark because in addition to

        competition among teams for talent, there is also competition between leagues as well. The

        league structure of European soccer is different than the closed team sports leagues in the

        United States. Each country has a hierarchy of leagues and teams can be promoted to higher

        leagues or demoted to lower leagues, depending on the performance in the final league

        standings. In part because of this strict punishment/reward system, competition for players

        tends to be strong among teams in a given league, but also among teams in leagues across all

        of Europe. More recently, the European soccer leagues have introduced “Financial Fair

        Play” rules which penalize teams that run consecutive financial deficits and this has blunted

        the competition over players somewhat. Nonetheless, competitive labor markets, albeit

        restrained, continue to exist. The problem with using the European soccer leagues as a

        damages benchmark is that the availability data on salary share of players presents some

        ambiguities that are discussed below. Accordingly, the data on player share in the European

        soccer leagues is presented as corroborative evidence rather than to calculate damages.

                122.   I was able to obtain data for European soccer leagues from Deloitte’s Annual

        Review of Football Finances, 2016. The report provides data for the top division of eleven

        European soccer leagues during 2014-15. The compensation share in total revenue is

        reported at 62.75 percent. However, the compensation share data reported by Deloitte is for

        the entire franchise payroll, not just the players. I spoke with the director of the Deloitte
                                                                                                        77




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        sports group as well as with some club owners and they estimated that the players account

        for approximately 80 percent of total payroll. Thus, multiplying the reported compensation

        share by 0.8 yields an estimated player share of 50.2 percent. Because this share is simply

        an estimate, I do not include it in my damages analysis. However, it indicates the

        reasonableness of the other benchmarks suggesting that in the but-for world, UFC athletes

        would have been compensated with at least 50% of revenue.

        C.     Damages Calculation and Results

               123.      Below, I calculate annual damages to the bout class by comparing UFC

        athlete share of event-based revenue to the average athlete share of revenue in the selected

        benchmarks discussed above: the NFL, MLB, NBA, NHL, and boxing. For those leagues

        whose competitive seasons run between two calendar years, the year identified is the fiscal

        year. Hence, the 2014-15 NBA season corresponds to fiscal year 2015 and is represented as

        2015. My source for Zuffa’s revenues and fighter compensation are Zuffa’s annual financial

        statements.242




        242
            See Zuffa’s Consolidated P&L Statements from 2001-2016: ZFL-1674096, ZFL-1053223,
        ZFL-1472224, ZFL-1381761, ZFL-1514712, ZFL-1514713, ZFL-1514769, ZFL-1514770, ZFL-
        1514804, ZFL-1514836, ZFL-1514837, ZFL-1514870, ZFL-1514900, ZFL-1514901, ZFL-
        1514933, ZFL-1514944, ZFL-1514966, ZFL-2764800, ZFL-2764798, ZFL-2764799, and ZFL-
        2764797. Internal Zuffa analyses indicate my calculation of the fighter share of revenue at Zuffa
        is accurate. For example, in an internal email from Tara Connell at Zuffa responding to the
        ESPN Outside the Lines piece discussed above, in which Rob Maysey claimed he had estimated
        that Fighter compensation was 5 percent of revenue, she estimated that it was instead 14 percent
        for Zuffa total events in 2011, and 16% for 2005 to 2011 combined. ZFL-1021391. I estimate
        17.4 percent for 2011, which indicates that my estimates are if anything conservative compared
        to Zuffa’s internal estimates. Similarly, a Deutsche Bank presentation on Zuffa estimates total
        athlete costs as a percent of revenue to be 16 percent in 2012, 18 percent in 2013, 16 percent in
        2014, and 19 percent in 2015. DB-ZUFFA-00007290 at 349.

                                                                                                       78




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               124.    Note that the shares in the NFL, NHL and NBA are shares of “defined

        revenue.” Each league defines revenue a little differently in their collective bargaining

        agreements. The differences relate to the treatment of related party transactions and the

        partial deduction of expenses for certain activities, such as stadium construction or revenue

        generated by events other than the games themselves. MLB shares are based on total

        league-wide revenue. 243 I consider bout or event compensation to be comprised of the

        following payments in Zuffa’s annual income statements: fighter purse, fighter bonus,

        fighter LOA, fighter sponsorship-event, fighter compensation, athlete outfitting

        compensation, and other fighter costs-event.

               125.    Bout class damages are based on Table 4 and Table 5. Table 4 contains

        Zuffa’s event-based revenue, and calculates fighter share of that revenue based on fighters’

        event-based compensation.244 Table 5 calculates the but-for amount that bout class members

        would have been paid if they had received the same share of Zuffa’s event-based revenue as

        the share received by athletes in my selected benchmarks, and finally the mean calculated by

        averaging the compensation share across all of the benchmarks.

               126.    Using the mean player compensation share from all of these benchmarks

        yields bout class damages from December 16, 2010 through December 31, 2016 of $981.8

        million. I will update the damages as appropriate in advance of trial to account for the

        243
           Note that some academic studies have estimated player shares of revenue in MLB, the NFL,
        the NBA and the NHL to be considerably higher than the shares I am using in the report. See,
        for instance, John Twomey and James Monks, “Monopsony and Salary Suppression: The Case
        of Major League Soccer in the United States,” American Economist 56, no. 1 (Spring 2011)
        where the estimated player shares are reported as between 52 percent and 59 percent.
        244
           Event-based revenue includes gate sales, live or taped television, pay-per-view, video-on-
        demand, UFC Fight Pass, and sponsorship and advertising revenue.

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        passage of time, and thus accumulation of additional damages. Table 6 summarizes the total

        damages by year.




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TABLE 4             Event Basis
                                                                                      But-for Compensation Share
                   Zuffa Reported        Event Fighter         Fighter Share in
Year               Event Revenue         Compensation          Event Revenue          NFL             NHL               NBA               MLB                Boxing         Mean
2010*              $20,305,394           $3,094,374            15.2%                  49.5%           56.2%             54.0%             55.1%              62.2%          55.4%
2011               $408,911,681          $74,545,647           18.2%                  49.5%           55.2%             54.0%             56.7%              62.2%          55.5%
2012               $401,501,671          $65,170,816           16.2%                  51.5%           52.8%             51.2%             53.8%              62.2%          54.3%
2013               $482,189,560          $86,136,490           17.9%                  49.2%           52.8%             47.0%             53.2%              62.2%          52.9%
2014               $412,923,026          $66,574,297           16.1%                  46.4%           52.6%             47.1%             55.4%              62.2%          52.7%
2015               $490,465,381          $104,903,030          21.4%                  45.8%           51.4%             47.4%             52.3%              62.2%          51.8%
2016               $666,060,145          $148,013,103          22.2%                  47.3%           51.8%             47.8%             51.5%              62.2%          52.1%

TABLE 5             Event Basis
                                                                                      Bout Class Damages (But-for Compensation minus Actual Compensation)
                   Zuffa Reported        Event Fighter         Fighter Share in
Year               Event Revenue         Compensation          Event Revenue          NFL             NHL               NBA               MLB                Boxing         Mean
2010*              $20,305,394           $3,094,374            15.2%                  $6,956,797      $8,317,258        $7,870,539        $8,098,042         $9,535,582     $8,155,644
2011               $408,911,681          $74,545,647           18.2%                  $127,865,635    $151,173,601      $146,266,661      $157,388,067       $179,797,419   $152,498,276
2012               $401,501,671          $65,170,816           16.2%                  $141,602,544    $146,822,066      $140,197,288      $150,922,325       $184,563,223   $152,821,489
2013               $482,189,560          $86,136,490           17.9%                  $151,100,773    $168,459,597      $140,299,727      $170,315,415       $213,785,416   $168,792,186
2014               $412,923,026          $66,574,297           16.1%                  $125,021,987    $150,623,215      $127,871,156      $162,196,735       $190,263,825   $151,195,383
2015               $490,465,381          $104,903,030          21.4%                  $119,730,114    $147,196,175      $127,528,514      $151,610,364       $200,166,436   $149,246,321
2016               $666,060,145          $148,013,103          22.2%                  $167,033,345    $197,006,052      $170,363,646      $195,007,871       $266,276,307   $199,137,444
Total                                                                                                                                                                       $981,846,743

* 2010 data refers to Dec 16 - Dec 31 only



 Sources for NHL, NBA, NFL : Forbes, various issues; statista.com; data from NBA and NHL players' associations; http://stats.nhlnumbers.com/teams?year=

 Sources for MLB: Forbes annual baseball valuation issues; Spotrac.com; Maury Brown, The Business of Baseball
 Notes: I have reduced the players' share by three percentage points in the NBA to account for probable discrepancy between BRI and total league revenues.
 MLB figures are based on the spotrac figures approximately LRD payrolls which exclude benefits. To include benefits
 I added $6.66 million per team and grew that at 6 percent per annum, roughly the growth rate in MLB salaries
 over this period. These numbers do not include minor league player compensation which are paid by major league team owners, but they do represent
 the payroll of the 40 players on the major league roster.

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          TABLE 6                             SUMMARY OF DAMAGES

          Year                                 Bout Class Damages
          2010*                                         $8,155,644
          2011                                       $152,498,276
          2012                                       $152,821,489
          2013                                       $168,792,186
          2014                                       $151,195,383
          2015                                       $149,246,321
          2016                                       $199,137,444

          Period Total                               $981,846,743



        D.        My Selected Benchmarks Are, If Anything, Conservative

                  127.   My analysis of fighter compensation includes “other fighter costs – event.” I

        conservatively choose to include this category because Zuffa did not sufficiently clarify

        what part of these costs constitute fighter compensation and what part are unrelated to

        fighter compensation. After seeking clarification, via Plaintiffs’ counsel, Zuffa replied that

        “other fighter costs” are “fighter background checks, gloves, TUF option contracts, visas,

        TUF coaches’ compensation (monetary or nonmonetary), gifts for fighters” and offered

        examples of “other fighter costs” as “fighter supplies, fighter appearance fees.”245 It seems

        apparent that the bulk of the “other fighter costs” do not constitute fighter compensation.

        Nonetheless, because I did not have enough information to apportion these expenses

        between compensation and non-compensation, in order to be conservative, I included all

        “other fighter costs” as fighter compensation. “Other fighter costs” amounted to $3.16

        million in 2015 or 2.94 percent of total compensation.



        245
              July 17, 2017 letter from counsel at Boies, Schiller & Flexner to Daniel Silverman.

                                                                                                         82



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                 128.   Similarly, I include “athlete outfitting compensation” as bout-related pay

        even though it is arguable that some or all of it is really licensing or identity compensation.

        In this treatment, I am also being conservative.

                 129.   I anticipate that one objection Zuffa will make to my benchmark analysis is

        to claim that comparing their athlete compensation share of revenues to other sports is

        comparing “apples to oranges” since Zuffa maintains that because they do their own

        television production, their non-player costs are exceptionally high.246 This objection is

        unfounded.

                 130.   First, the appropriate and conservative nature of my yardsticks is

        corroborated by the fighter share of revenue paid out by other MMA promotions who have

        attempted to compete with Zuffa. During 2010 and 2011, the two years before it was

        acquired by Zuffa, Strikeforce paid approximately 63% of its revenues to its fighters.247

        Similarly, during the period from 2010 through 2015, Bellator paid approximately 48.5% of

        its revenue to Fighters.248 These MMA promoters are Zuffa’s closest competitors and their

        business models are similar to Zuffa’s. The fact that their fighter pay ratio, which has an

        unweighted mean of 55.75% during the Class Period (through the end of 2016), is in the

        ballpark of my benchmark estimates further bolsters the reasonableness of my benchmarks.




        246
           For example, in an interview with ESPN’s Outside the Lines, Lorenzo Fertitta claimed
        “[w]hat you have to understand is that our model is different. We are everything. We’re the
        promoter. We’re the television producer. We're responsible for all the costs that go into the
        production, and you're talking millions and millions of dollars.” Barr and Gross.
        247
              ZFL-1472337; ZFL-1472338.
        248
              SBPCL00002101.

                                                                                                          83



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                 131.   Second, the data supplied by Zuffa in this case indicates that broadcasting

        production costs were in the neighborhood of $90 million in 2014.249 However, if it were

        not cost effective to produce their own content, the UFC would presumably have the option

        to farm the production out to FOX or another network as professional sports teams do.

        Indeed, based on internal evaluation of that option, it appears that if Zuffa did outsource

        production costs to its broadcast partners, it would result in a valuation of only $10 to $20

        million for these services.250 Given that Zuffa’s total revenues in 2014 were $471.6

        million,251 $10 to $20 million represents only 2% to 4% of Zuffa’s overall revenue.

                 132.   Furthermore, to the extent Zuffa claims that such production costs are not

        incurred by the owners in the sports I have selected as benchmarks, such a claim is

        inaccurate. For example, team owners in the MLB, the NBA and NHL often own their own

        regional sports networks (RSNs) and, therefore, also cover their television production costs.




        249
           In connection with the acquisition of Zuffa by WME/IMG, the Raine group observed that “It
        is worth noting that UFC also incurs all of its own media production costs which run ~$90mm
        per year (media partners typically incur all production costs for most sports leagues); IMG has
        significant media production capabilities that will crossover.” ZFL-0994806 at 06. Zuffa’s
        consolidated income statement for 2014 corroborates this figure if one adds together the contract
        and non-contract production costs, equipment rentals, the announcers’ fees and advertising sales
        and observes that some of these items are not directly related to broadcasting costs. For instance,
        the announcers may do promotional work for Zuffa not connected to the event broadcasting.
        250
            In Oct. 2012, Denitza Batchvarova, UFC’s Senior Director for Investment and Strategy, put
        together a model to estimate UFC Rights Fees from Fox based on comparing Fox’s recent deals
        with MLB and NASCAR. Based on that model, Batchvarova concluded that “If Zuffa chooses to
        retain production in-house, we would increase the annual valuation by $10-$15m to reflect the
        pass through of event production costs to Fox.” ZFL-1014148; ZFL-101-4149, at 50. UFC
        estimates the fair market value of UFC Live programming based on 2013 ratings at $272 million,
        and estimates the “adjusted value for production costs” to be $292 million. Thus, the adjusted
        value of the production costs is approximately $20 million. ZFL-0940065 at 89.
        251
              ZFL-1514944.

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        These RSNs contribute a significant portion of team revenues.252 Consider, for instance, a

        team like the Boston Red Sox. It is in a television market covering all of New England,

        including almost 5 million households. With household cable penetration of around 80%,

        there are close to 4 million homes that subscribe to NESN (the team’s RSN)253 and cable

        distributors pass on a monthly fee of roughly $5. This sum produces approximately $20

        million monthly or $240 million yearly. On top of this, NESN also earns tens of millions of

        dollars from advertising sales. In its most recent valuation of MLB teams (March 23, 2016),

        Forbes estimates that the Red Sox total revenue is $398 million.254 If we posit

        conservatively that 50 percent of NESN’s revenue is attributable to the Red Sox (with the

        rest to the Bruins and shoulder programming) and the network earns $40 million in ad sales,

        then the Red Sox revenue from NESN is $140 million, or roughly 35% of team revenue.

        The Red Sox payroll in 2016 was $204 million or 51.3% of its estimated revenue.255

        NESN’s revenues are part of MLB’s total revenues.




        252
           For the NBA, see Collective Bargaining Agreement, January 19, 2017, Article VII (a)(ii), at
        127. For MLB, see Basic Agreement, 2012-2016, Article XXIV (A), at 119-120. For the NHL,
        see Collective Bargaining Agreement Between National Hockey Association and National
        Hockey Association Players’ Association, Sept.16, 2012-Sept.15, 2022, Article 50.1 (a), at 223-
        228. Although it only applies to very modest revenue from pre-season games, for the NFL see
        NFL Collective Bargaining Agreement, Aug. 4, 2011, Article 12 (Section 1)(a), at 61-66.
        253
          The Boston Red Sox is owned by a partnership called Fenway Sports Group. The Fenway
        Sports Group also owns 80 percent of NESN.
        254
           “Forbes Releases 19th Annual MLB Team Valuations,” Forbes, March 23, 2016, available at
        https://www.forbes.com/sites/forbespr/2016/03/23/forbes-releases-19th-annual-mlb-team-
        valuations/#7c7b904720af.
        255
          This payroll represents the team’s 40-man roster and excludes minor league player contracts.
        The latter would add several million dollars to the payroll.

                                                                                                      85



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                  133.   Even if it were correct that Zuffa incurred higher production costs than my

        benchmark sports leagues,256 those would likely be counterbalanced by other expenses that

        are incurred by my benchmark sports leagues but not by Zuffa.

                  134.   For example, in its 2014 Consolidated Income Statement, Zuffa reported that

        it spent $4.8 million on venue costs.257 In contrast, the Red Sox have invested

        approximately $300 million of private funds to renovate Fenway Park. Amortizing this sum

        and adding the operating expenses results in annual stadium costs of close to $50 million a

        year. Using the highest of the three valuations of Zuffa’s broadcasting production costs ($90

        million), if the production costs at NESN were as little as $44.8 million, then the combined

        broadcasting and venue costs for the Red Sox would be same as those for Zuffa. Yet

        Zuffa’s annual revenue in 2014 was reported as $471.6 million, whereas the estimated Red

        Sox revenue two years later was $398 million.258

                  135.   Zuffa’s anticipated argument that it incurs expenses not incurred by my

        benchmark leagues that account for the much lower share of revenue paid to its athletes is

        also belied by the extraordinary profitability experienced by Zuffa during the Class Period.

        In order to evaluate Zuffa’s profitability, it is essential to look at its earnings before interest

        256
           Also note that, according to a Deutsche Bank presentation, Zuffa “management expects
        minimal increases in overall production costs” such that ‘the stable nature of these expenses
        provide for significant leverage in the business model allowing for incremental revenue to
        contribute directly to EBITDA[.]” DB-ZUFFA-00007290 at 350.
        257
            The $4.8 million figure is arrived at by summing four different entries for “other venue costs”
        in Zuffa’s 2014 consolidated income statement. ZFL-1514944. In a Q&A presentation for
        potential investors prepared by the Raine Group, however, it is stated that facilities costs are
        comprised primarily of expenses for maintaining Zuffa offices overseas. RAINE0018791 at 807.
        “Other venue costs” is listed under “Facilities” in the consolidated income statement. Hence, it
        is likely that actual arena costs are considerably below this $4.8 million figure, making the
        comparison in the text even more striking.
        258
              As estimated by Forbes.

                                                                                                              86



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        payments (as measured by EBITDA, or “Earnings Before Interest, Taxes, Depreciation, and

        Amortization”), as Zuffa engaged in repeated “dividend recapitalizations,” which essentially

        means using debt to finance dividend payments to shareholders.259 The extensive use Zuffa

        made of debt financing of equity payments to shareholders is illustrated in Table 7, which

        presents Zuffa’s Net Income and Dividends each year between 2005 and 2014.


                                                     Table 7

                                 Zuffa's Net Income and Dividend Payouts by Year260

                                     Source      Year Net Income          Dividends
                                  ZFL-0000169    2005 $6,268,401         $9,100,000
                                  ZFL-0000169    2006 $75,291,650        $63,835,711
                                  ZFL-0000113    2007 $13,209,235       $285,743,500
                                  ZFL-0000064    2008 $38,098,231        $72,703,105
                                  ZFL-0000007    2009 $99,313,880       $144,181,867
                                  ZFL-0000031    2010 $119,721,000      $305,855,402
                                  ZFL-0000031    2011 $95,960,000        $97,158,000
                                  ZFL-0000221    2012 $30,361,000        $68,042,000
                                  ZFL-0000221    2013 $84,788,000        $72,122,000
                                  ZFL-0000136    2014 $26,621,000        $44,329,000

                                     Total              $609,397,305 $1,163,070,585
                                   2010-2014            $377,215,908   $587,506,402


               136.    Looking at Zuffa’s EBITDA margins indicates that on balance Zuffa is in

        fact quite profitable and that Zuffa’s apparent monopsony and monopoly power has enabled
        259
            Indeed, in 2011, David Reid at Deutsche Bank who was in charge of the Zuffa account noted
        concern over Zuffa’s shareholder’s dividend recapitalizations: “How about them putting there
        [sic] hands in there [sic] pocket. Not doing it zero equity, particularly when they pull hundreds of
        millions of dollars out the company every year.” DB-ZUFFA-00024253 at 54. In this case, the
        shareholders were primarily the Fertitta brothers and Dana White, who collectively owned 90%
        of the equity in Zuffa.
        260
            Where Zuffa’s audited financial statements have restated net income, the restated numbers are
        listed below. In addition, these numbers reflect net income attributable to Zuffa, where
        applicable.

                                                                                                         87



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        uncommonly high margins.261 For example, the EBITDA margins reported in Zuffa’s

        financial statements far surpass the average margins in the entertainment and movie sector

        of the U.S. economy. According to CSIMarket,262 the EBITDA/revenue ratio in the

        entertainment and movie sector averaged 12.6% during the eight quarters of 2015 and

        2016.263 From Table 2 above, Golden Boy Promotion’s margin averaged only 7.4% during

        2014-2016. In contrast, Zuffa’s reported an average EBITDA margin of 25.3% for the

        period from 2010 to 2016—more than double that in the entertainment and movie sector as a

        whole. The annual breakdown of Zuffa’s margins is presented in Table 8.




        261
            In addition, it is likely that even Zuffa’s EBITDA margins are appreciably understated due to
        inflated costs. For example, Zuffa recorded expenses including $14.71 million of supplementary
        bonuses above the line, even though they are essentially additional distributions of profits to
        equity holders. Similarly, Zuffa’s financial statements record millions of dollars in expenses for
        related party transactions such as expenses for corporate jets, which are paid to the Fertitta
        brothers, who owned those same jets. As described in the diligence papers for potential investors,
        “accounts for all private jets used by current shareholders: these costs are well-above what is
        required to operate the business and will not be a go forward expense under the new
        ownership… the majority of plane expense can be added back as these services are not necessary
        to operate the business. UFC has been conservative and added an additional $1.5mm in T&E
        expense to adjust for the loss of private planes.” RAINE0018791 at 807-08.
        262
           “Movies and Entertainment Industry Profitability Rations”, available at
        http://csimarket.com/Industry/industry_Profitability_Ratios.php?ind=917&hist=4.
        263
           CSIMarket does not have estimates for this sector before 2015. In general, as the economy
        has gradually strengthened each year since 2008, one would expect margins during 2010-2014, if
        anything, to be below the average in 2015 and 2016.

                                                                                                       88



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                                      Table 8: Zuffa EBITDA Margins264


                                         2010                        35.3%
                                         2011                        30.0%
                                         2012                        15.5%
                                         2013                        25.6%
                                         2014                        15.4%
                                         2015                        26.3%
                                         2016                        28.8%




               137.    To put these profits in perspective, in response to an ESPN story, Zuffa

        flaunted the fact that it paid out more than $250 million to all of its fighters between 2005

        and 2011. Yet over the same period, according to Zuffa’s records, the company paid out

        $978.6 million in dividends to its owners – nearly four times as much as it paid its fighters.

        This sum does not even include salary payments or management fees to the Fertitta brothers

        and Dana White, possible income from related party transactions (e.g., renting Zuffa use of

        their corporate jets), bonuses and supplementary bonuses (paid out of EBITDA), multiple

        perquisites, insurance coverage, or capital gains in excess of $3 billion which were

        eventually realized when Zuffa was sold to a consortium led by WME/IMG in August

        2016.265



        264
           These are calculated from Zuffa’s audited financial statements covering 2010-2015 (ZFL-
        0000031, ZFL-0000221, ZFL-0000136, RAINE-0016846) supplemented by Zuffa’s
        Consolidated P&L Statements, supra n. 242.
        265
           Fertitta Dep. at 32:18-24 (“the closing value for the transaction was, my recollection, about
        3.65 billion minus the debt that the UFC had at the time, which was roughly 450 to 500 million.
        So subtracting that would be the equity value to shareholders”).

                                                                                                         89



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                  138.     Because Zuffa’s capital costs are exceptionally low, Zuffa’s return on

        investment is even more of an outlier. In its financial presentation to Standard and Poor’s

        and to Moody’s in May 2007, Zuffa boasted of its low capex requirements as follows:

        “Strong free cash flow… minimal capital expenditure requirements … traditional EBITDA-

        based credit metrics hide free cash flow generation.”266 Indeed, Zuffa’s total capital

        expenditures in 2004 were only $300,000 and in 2005 dropped to $200,000.267 Such boasts

        undermine any claim by Zuffa that higher capital requirements justify higher capital returns

        as compared to relevant benchmarks. Furthermore, Zuffa’s extraordinary returns were

        realized based on an initial investment of only $2 million to buy the UFC in 2001, along

        with diminutive operating losses for the first three years and minimal additional capital

        expenditures as described above.

                  139.     Finally, it may be objected that, even though Zuffa’s margin is about 13

        percentage points above the average for the entertainment and movie industry, the damage

        estimates implied by my analysis would yield substantially negative EBITDA. This

        objection, however, is flawed because (in part) it is based on a static view of the UFC’s

        business. Indeed, it is reminiscent of baseball’s owners’ claim, discussed above, that the

        sport would die if player free agency came into effect. Each of the team sports expressed

        similar fears when faced by player lawsuits or labor action. In reality, each of the team

        sports adapted to higher player costs by employing more effective management practices.

        Moreover, the open market turned out to stimulate fan interest, both in athlete movement but

        also in evaluating what athletes were worth. The higher salaries also provided a stronger

        266
              ZFL-1516424 at 56.
        267
              Id. at 70.

                                                                                                       90



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        incentive to existing athletes to improve conditioning and to future athletes to train more

        effectively. Further, more young athletes found the prospect of a future career in baseball to

        be alluring. For all these reasons, the quality of play improved and the game became more

        exciting. Accordingly, industry revenue and franchise valuations soared.



                                                VI. CONCLUSION

               140.    I conclude as follows:

                      a.      Zuffa’s challenged conduct is anticompetitive in character and, thereby,
                              would have anticompetitive effects if engaged in by an entity with
                              monopoly or monopsony power;

                      b.      The pro-competitive justifications that have been offered in defense of
                              conduct similar to the challenged conduct that was historically engaged in
                              by owners in other professional sports (i) are invalid, (ii) do not have any
                              theoretical applicability to MMA, and (iii) MMA could exist as a
                              successful sport with less restrictive conduct in its labor market; and

                      c.      There is a class-wide method capable of computing the aggregate amount
                              members of the proposed “Bout Class” were undercompensated due to the
                              challenged conduct. I have conservatively computed such damages for the
                              period December 16, 2010 through December 31, 2016 to be equal to
                              $981,846,743.




                                                                                                             91



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                                       EXHIBIT A




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              best business book of 1992 by USA Today Baseball Weekly, and selected as
              Breakthrough Book in Lingua Franca
           Sports, Jobs and Taxes selected as Breakthrough Book in Lingua Franca
           Selected as the sports journalist of the year in 1998 by the Village Voice
           Unpaid Professionals selected as a Breakthrough Book in Lingua Franca
           Danziger Fellowship, Smith College, 1999-2002
           Listed in Who’s Who in America
           Listed in Who’s Who in American Educators
           Chair, Smith College Committee on Athletics and NCAA Faculty Rep, 1998-present
           Bi-weekly commentator on the business of sports on NPR’s Marketplace, 2002-2005
           Visiting Professor, University of Geneva, 2003
           May the Best Team Win given “Silver Award” by ForeWord Magazine in their
             Book of the Year Award in Business and Economics
           National Pastime: How Americans Play Baseball and the Rest of the World Plays
             Soccer awarded prize for “Outstanding Academic Title” by Choice, the
             major review journal of the American Library Association
           National Advisory Council, Campaign for Alcohol-Free Sports TV, 2006-09
           Advisory Board, Israeli Baseball League, 2006-07
           National Policy Advisory Board, Women’s Sports Foundation
           Advisory Board, Pennsylvania State Institute for Sports Law, Policy and Research
           Selected as one of America’s Top 100 Most Influential Sport Educators (Institute for
             International Sport)
           Visiting Professor, University of Geneva, Geneva Switzerland, 2003
           Visiting Professor, American Studies Program, Doshisha University, Kyoto, Japan,
             June 2007.
           Selected as one of top 100 sports educators by the Institute for International Sport,
             October 2007.
           Advisory Council, The Drake Group, 2009- .
           Westlaw Round Table Group, expert
           Visiting Professor, University of Hamburg, Hamburg, Germany, 2011
           Advisory Board, Sports Leadership and Management Program, UMASS-Boston,
             2015-
           Consultant to the Commissioner’s Office, Major League Baseball, 2006-16.
           Circus Maximus selected as one of the Best Books of 2015 by The Economist
           Co-editor Palgrave Macmillan Pivot Book Series on Sports Economics, 2016-

        Other Activities (partial listing)

           Member, Editorial Board of journal Journal of Sports Economics, 1999 - present.
           Member, Editorial Board of journal Base Ball, 2006 – present
           Member, Editorial Board of journal Journal of Issues in Intercollegiate Sport,
             2007 – 2013
           Member, Editorial Board of journal, International Journal of Management and
             Marketing, 2013 - 2015
           Member, Editorial Board, Sports Technology, 2007 - 2010
           Academic Affiliate, Analysis Group/Economics, 1999-present
           Member, Advisory Board, The Drake Group, 2009-present



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           Series Editor of Latin American Economic Development Book Series, Westview
            Press, 1987-1994.
           Member, Editorial Board of journal Comparative Economic Studies, Association
             for Comparative Economic Studies, 1987-1990.
           Member, Advisory Board, U. Mass Boston, Sport Management Program. 2014-
             present
           Member, Editorial Board of journal Latin American Perspectives, 1988-1998.
           Member, Advisory Board, Western Massachusetts Civil Liberties Union, 1988-
             1994.
           Member, Board of Directors, Network on East-West-South Research Cooperation
             on Technology Transfer, 1988-1994.
           Member, Cable Advisory Board, Northampton, Ma., 1990-1994.
           Member, Washington Office on Latin America Op-ed Writers' Network, 1995-
             1998.
           Chair, Cable Advisory Board, Northampton, Ma., 1993-1994.
           Member, Advisory Board, EcoConsult, 1992-1996.
           Development Consultant, SRI project on non-traditional export promotion in
            Central America and the Caribbean basin, 1987-1988.
           Development/Management Consultant, United Nations' Development Project,
            assessment of management training programs and needs in Cuban economy,
            1990- 1993.
           Project consultant, Ford Foundation, 1990
           Project consultant, MacArthur Foundation, 1992
           Consultant to Major League Baseball, Office of the Commissioner, 2005-06, 2010-
            present
           Faculty Board, College Sports Research Institute, University of North Carolina,
            2008-present
           Consultant, for Attorney Robert Pearl in litigation brought by Mrs. Billy Martin,
             involving estimation of managerial contribution to revenue of baseball
             franchises, 1992.
           Consultant, for Weil, Gotshal & Manges, in litigation brought by NFL Players'
             Association, involving an analysis of the effect of free agency on league
             competitive balance, 1992.
           Consultant, for Williams & Youle, in arbitration case for compensation for
              territorial rights to the Denver Zephyrs of the American Association from the
             Colorado Rockies. (testimony)
           Consultant, for Cunningham Law Group, in litigation against Major League
              Baseball for tortious interference in effort to procure a franchise for Tampa
              Bay.
           Consultant, for Grippo & Elden, in litigation brought by WGN and the Chicago
              Bulls against the National Basketball Association over league rules restricting
              the number of superstation broadcasts.
           Consultant, for Williams, Youle & Koenigs, Attorneys at Law, for arbitration case
              of The Denver Zephyrs Baseball Club v. Colorado Baseball Management, et al.
              (testimony)
           Consultant, for Campbell, Maack & Sessions, in arbitration case for territorial
              compensation rights regarding Salt Lake City Buzz and Trappers. (testimony)



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           Consultant, for Wendell, Chritton & Parks, in arbitration case for territorial
             compensation to Fort Lauderdale Yankees from Florida Marlins. (testimony)
           Consultant, for ABRY Communications in litigation between KSMO-TV and the
             Kansas City Royals. (testimony)
           Consultant, for the Major League Baseball Players' Association concerning
             analysis and design of revenue sharing system for Major League Baseball.
           Consultant, for Atlantic Council of the United States, project on U.S./Cuba
             relations.
           Consultant, for IRELA (Instituto de Relaciones Europeo-Latino-americans),
             Madrid, of the European Parliament.
           Co-founder of the United Baseball League, with Rep. Robert Mrazek, Rep. John
             Bryant and Richard Moss.
           Consultant, for Attorney Robert Bell in litigation between Marianne Stanley and
             USC.
           Consultant, for ING Bank
           Consultant, for Holderbank
           Consultant, for Coca-Cola
           Consultant, for Euromoney
           Consultant, for Mayor's Office, Portland, Oregon
           Consultant, for Krendl, Horowitz & Krendl in litigation between Steven Ehrhardt
             and the Colorado Rockies Baseball Team. (testimony)
           Consultant, for Brown, Hart, Reed & Kaplan in Burt v. Hampshire College.
            (testimony)
           Consultant, for Wolff Companies
           Consultant, for Connecticut Senate Democrats
           Consultant, for Husch & Eppenberger, in St. Louis CVC Authority v. NFL
            (testimony)
           Consultant, for Rose, Sundstrom & Bentley, in W. Poe v. Hillsborough County &
             City of Tampa. (testimony)
           Consultant, for U.S. House Judiciary Committee in drafting bill for partially lifting
              baseball’s antitrust exemption as it applies to labor relations
           Consultant, for IRS in franchise asset evaluations
           Consultant, for Davis, Scott, Weber & Edwards in Miami sports facility case
           Consultant, for Los Angeles Mayor’s Office in arena financing matter
           Consultant, for Cincinnati Business Courier, in stadium lease evaluation
           Contributing columnist, Sports Business Journal
           Consultant, for Analysis Group/Economics in U.S. Department of Justice
             case against a Major League Baseball franchise. (testimony)
           Consultant, for ENIC in European soccer case
           Consultant, for National Basketball Players’ Association in collective bargaining
           Consultant, for Rabinowitz, Boudin et al. in copyright case
           Consultant, for National Hockey Players’ Association in franchise analysis
           Consultant, expert on behalf of Fraser class in antitrust litigation against Major
             League Soccer (testimony)
           Consultant, for Leboeuf, Lamb, Greene & MacRae in baseball franchise valuation
             case
           Consultant, for Kohrman, Jackson & Krantz in NFL/consumer protection case.



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            (testimony)
           Consultant, for Greenbaum, Doll & McDonald in sports antitrust case
           Consultant, for Menard, Murphy and Walsh in sports facility/eminent domain case
           Consultant, for Levin, Fishbein, Sedran & Berman in NFL antitrust case
           Consultant, for Wisconsin Governor’s office in stadium matter
           Consultant, for Sills, Cummis, et al. in tax case involving the New Jersey Nets
           Consultant, U.S. Department of Justice, in tax case involving several baseball teams.
            (testimony)
           Consultant, for Shughart, Thomson & Kilroy in NFL franchise valuation case
           Lecturer, Aspen Institute Congressional Program on Cuba
           Consultant, for Boies, Schiller & Flexner in NFL ownership/franchise valuation
            case. (testimony)
           Consultant, Ways and Means Committee, Boston City Council
           Consultant, for Henry Klein in NFL/consumer rights case
           Consultant, for Thorsnes, Bartolotta & McGuire in sports broadcasting antitrust case
           Consultant, for Schulman & Kaufman, in sports licensing case
           Consultant, for Blecher & Collins in sports licensing case
           Consultant, “The Power of Ideas” Program, American Public Television
           Consultant, for Modern Continental in stadium construction plan
           Consultant, for Boies, Schiller & Flexner in Broadcasting case (testimony)
           Consultant, for National Cable Telecommunications Association, Board of
              Directors
           Consultant, Minneapolis Metropolitan Sports Facilities Corporation against MLB’s
              contraction efforts
           Consultant, to the Shubert Organization in economic development matter
           Consultant, to the IRS in NFL franchise valuation case
           Consultant, to Boyle, Morrisey et al. in damages case
           Consultant, to the Antitrust Division of the U.S. Justice Department
           Consultant, to First Watch Investment Advisors, LLC
           Consultant, to McLaughlin, Gouldborne & Cohen in minor league baseball facilities
              matter
           Consultant, to Furnier & Thomas in a sports stadium matter
           Consultant, to NCAA in financial analysis of intercollegiate athletics
           Consultant, to Brascher Law in sports damages case
           Consultant, to Marcus Katz in sports league matter
           Consultant, to McKinsey&Company in college sports matter
           Consultant, to Bruce Ratner/Forest City in development matter
           Consultant, to Wisconsin State Legislature in team and stadium matter
           Consultant, to Dewey Ballantine in intercollegiate sports antitrust case
           Consultant, to new team boxing league
           Consultant to Boies, Schiller and Flexner in NFL ownership matter
           Consultant to WUSA, relaunch effort
           Consultant to McDonald & Hayden in NHL financial matter
           Consultant to District of Columbia’s Controller’s Office in stadium matter
           Consultant to Waite, Schneider, Bayless and Chesley in stadium matter
           Consultant to San Francisco Giants in stadium matter (testimony)
           Consultant to City of Anaheim in stadium matter (testimony)



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           Consultant to Waite, Schneider, Bayless and Chesley in NASCAR antitrust matter
             (testimony)
           Consultant to Jackson County, Mo. in stadium negotiations with the Chiefs and
              Royals
           Consultant to Rainey Kaiser, in stadium matter in Jackson, Tennessee (testimony)
           Consultant to Magna Entertainment in horse racing matter
           Consultant to Harrah’s in sports development matter
           Consultant to ML in sports franchise purchase matter
           Consultant to NJSEA in stadium matter
           Consultant to the San Francisco Board of Supervisors in assessing the economic
              impact of an Olympics bid
           Consultant to various MLB teams
           Consultant to MLB in collective bargaining, 2005-06, and 2010-11
           Consultant to Citigroup clients on franchise purchase
           Consultant to Weil, Gotshal & Manges in matter involving NBA team
           Consultant to Geraghty, O’Laughlin & Kenney in matter involving professional
              basketball player
           Consultant to Melick, Porter & Shea in matter involving professional golf
           Consultant to New Jersey Sports and Exhibition Authority in arena matter
           Member, National Advisory Council, Campaign for Alcohol-Free Sports TV,
              Center for Science in the Public Interest
           Member, Advisory Board, Museum of the City of New York, exhibit on baseball
              in New York, 1947-1957
           Member, Board of Advisers, Israeli Baseball League, 2006-07
           Member, Board of Directors, Vintage Baseball Federation, 2007-present
           Member, Advisory Board, Penn State Institute for Sports Law, Policy and Research,
              2007-present
           Member, Advisory Board, Professional Athlete Education Initiative, 2008-present
           Member, National Expert Advisory Panel, Women’s Sports Foundation
           Member, Antitrust Public Policy Group, Women’s Sports Foundation
           Consultant to Michael Best Law Group in minor league baseball matter
           Consultant to Northwoods League in franchise valuation matter
           Consultant, Knight Commission Committee on financial reform in college sports
           Member, Advisory Board, Lake Placid Sports Summit
           Consultant to city of Seattle in sports facility matter (testimony)
           Consultant to Barnes & Thornburg in tennis antitrust matter (testimony)
           Consultant to Jones Day in antitrust matter in NHL (testimony)
           Consultant to Ken Burns/Florentine Films on baseball documentary
           Consultant to Flaherty, Sensabaugh & Bonasso in a college head coach liquidated
            damages case
           Consultant to the National Football Players Association for a study on comparative
             retirement benefits
           Consultant to Squire, Sanders & Dempsey in a franchise relocation matter
           Consultant to Dewey LeBoeuf in a franchise relocation matter
           Consultant for valuation purposes in sale of interest in MLB team
           Consultant to MLB’s Commissioner’s Office on economic issues, 2005 - present
           Consultant to Northlands in an arena and economic development matter



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           Consultant to U.S. Department of Justice in college sports antitrust matter
           Consultant to Heenan Blaikie and the city of Ottawa in a sports/stadium matter
           Consultant to Hausfeld, LLP in NFL mediation of labor relations dispute
           Consultant to Schiff Hardin LLP in publicity rights cases involving Michael Jordan
             (testimony)
           Consultant to Jackson Kelly LLP in college sports realignment mediation
           Consultant to McDonald Sanders LLP in college sports realignment matter
           Consultant to Boyle, Shaughnessy & Campo in an NHL matter
           Consultant to Ater Wynne LLP in franchise valuation matter
           Consultant to Meerkats, regarding Australian Rules Football, management strategy
           Consultant to Bredhoff & Kaiser, regarding NLRB matter in college football
           Consultant to Nagel Rice in NFL matter
           Consultant to US Track & Field Athletes in compensation matter
           Consultant to Speaker of the House, Rhode Island in stadium matter
           Consultant to Morrison & Foerster in a stadium matter
           Consultant for the Atlantic 10 Athletic Conference, 2016
           Consultant for Cohen Milstein in anti-trust matter
           Consultant for Dunlavey & Associates in stadium analysis

           Referee for Social Science Research Council of Canada, National Science
             Foundation, Spencer Foundation, American Economic Review, World
             Development, Journal of Economic Behavior and Organization, Latin American
             Research Review, Southern Economic Journal, Regional Science and Urban
             Economics, Problems of Post-Communism, Industrial and Labor Relations
             Review, Journal of Inter-American Studies and World Affairs, Latin American
             Politics and Society, Cuban Studies, Social Science Quarterly, Journal of
             Comparative Economics, Studies in Comparative International Development,
             Journal of Industrial Economics, National Science Foundation, Fullbright, Latin
             American Perspectives, Journal of Sports Economics, Eastern Economics Journal,
             Southern Economic Journal, Quarterly Review of Economics and Finance,
             Journal of Sport History, Economic Inquiry, Regional Studies, Journal of
             Business, B.E. Journals in Economic Analysis and Policy, Journal of Planning,
             Education and Research, Growth and Change, Journal of Public Economics,
             Urban Affairs Review, Journal of Issues in Intercollegiate Athletics, Sociological
             Forum, International Journal of Sport Finance, Public Budgeting and Finance,
             State and Local Government Review, Thompson/South-Western publishing,
             Urban Affairs Review, International Journal of Sport Policy and Practice, and
             various university presses and other journals. He has also served as an outside
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           U.S. Senate Judiciary Committee in January 1996 at hearings on the future of
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                                        EXHIBIT C




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        Bates Stamped Materials
        CG-UFC-00000003           DB-ZUFFA-00006712        DB-ZUFFA-00007187
        DB-ZUFFA-00007290         DB-ZUFFA-00020303        DB-ZUFFA-00024253
        DB-ZUFFA-00030406         DB-ZUFFA-00056900        DB-ZUFFA-00006712
        RAINE-0016846             RAINE-0018791            SBPCL00002101
        WAR-000009 (Margules      WME_ZUFFA_00001150       WME_ZUFFA_00005368
        Deposition Exhibit 3)
        ZFL-0000007               ZFL-0000031              ZFL-0000064
        ZFL-0000113               ZFL-0000169              ZFL-0000221
        ZFL-0000136               ZFL-0186162              ZFL-0411039 (Lappen
                                                           Deposition Exhibit 203)
        ZFL-0506593               ZFL-0557588              ZFL-0940065
        ZFL-0994806               ZFL-1014148              ZFL-1014149
        ZFL-1021391               ZFL-1053223              ZFL-1070290
        ZFL-1081154               ZFL -1233191 (Epstein    ZFL-1376378
                                  Deposition Exhibit 32)
        ZFL-1381761               ZFL-1382452              ZFL-1404974
        ZFL-14121551 (Silva       ZFL-1425511              ZFL-1472224
        Deposition Exhibit 43)
        ZFL-1472337               ZFL-1472338              ZFL-1514712
        ZFL-1514713               ZFL-1514748              ZFL-1514769
        ZFL-1514770               ZFL-1514804              ZFL-1514836
        ZFL-1514837               ZFL-1514870              ZFL-1514900
        ZFL-1514901               ZFL-1514933              ZFL-1514944
        ZFL-1514966               ZFL-1516424              ZFL-1516456
        ZFL-1674096               ZFL-2149052 (Epstein     ZFL-2198339 (Epstein
                                  Deposition Exhibit 42)   Deposition Exhibit 34)
        ZFL-2277058               ZFL-2496264              ZFL-2532557 (Epstein
                                                           Deposition Exhibit 35)
        ZFL-2603702               ZFL-2632955              ZFL-2642993
        ZFL-2699678               ZFL-2700585              ZFL-2764798
        ZFL-2764797               ZFL-2764799              ZFL-2764800
        ZUF-00113209              ZUF-00335242




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